                                                          Frce C,rf ./
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   1l




        Principal Applicant

SUMAJIT, Walter Gadrinab

           DOB:0812311971
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                                                  Notice of Entry of Appearance                                                    DHS
                                            as Attorney or Accredited Representative                                            Form G-28
                                                                                                                              OMB No. 1615-0105
                                                           Department of Homeland Security                                    Expires 05i31/2021



 Part 1. Information About Attorney or                                       Part 2. Eligibility Information for Attorney or
 Accredited Representative                                                   Accredited Representative
 1.     USCIS Online Account Number (if any)                                Select all applicable items.

                                                                            1.a.   []   I am an attomey eligible to practice law in, and a
                                                                                        member in good standing of, the bar of the highest
 Nume af Attorney or Acuedited Representative                                           courts of the following states, possessions, territories,
                                                                                        commonwealths, or the District of Columbia. If you
2.a.    Family Name                                                                     need extra space to complete this section, use the
        (Last Name)         KAYE
                                                                                        space provided in   Part 6. Additional Information.
2.b.    Given Name
        (First Name)        Allen                                                       Licensing Authority

2.c.    Middle Name E                                                                    1307222
                                                                            1.b.   Bar Number    (if applicable)
 Address of Attorney or Accredited Representotive                                   New York Supreme Court
3.a.    Street Number
                             225 Broadway                                   l.c.   I (select only one box)    am not
                                                                                                             []           I am
        and Name
                                                                                   subject to any order suspending, enjoining, restraining,
3.b.   I   Apt.      f]    ste. ffi rn         3                                   disbaning, or otherwise restricting me in the practice of
                                                                                   law. Ifyou are subject to any orders, use the space
3.c.    City or Town        New York                                               provided in Part 6. Additional Information to provide
                                                                                   an explanation.
3.d.    State    NY         3.e.    ZIP Code       10007                    1.d.   Name of Law Firm or Organization

3.f.   Province                                                                     Pollack Pollack lsaac and DeOicco LLP
                                                                            2.a. I      I am an accredited representative ofthe following
3.g.   Postal Code                                                                      qualified nonprofit religious, charitable, social
3.h.   Country                                                                          service, or similar organization established in the
                                                                                        United States and recognized by the Department of
        USA                                                                             Justice in accordance with 8 CFR part 1292.
                                                                            2.b.   Name of Recognized Organization
Contact Information of Attomey orAccredited
Representative
4.     Daytime                     Number
                                                                            2.c.   Date of Accreditation (mm/dd/yyyy)

        2122338100
5.     Mobile Telephone Number (if any)                                     3. tl I      am associated with


                                                                                        the attomey or accredited representative ofrecord
6.     Email Address                                                                    who previously filed Form G-28 in this case, and my
        aek@ppid.com                                                                    appearance as an attomey or accredited representative
                                                                                        for a limited purpose is at his or her request.
7.     Fax Number           any)
                                                                            4.a. n I urn a law student     or law graduate working under the
        2122339238                                                                      direct supervision ofthe attorney or accredited
                                                                                        representative ofrecord on this form in accordance
                                                                                        with the requiremenrs in 8 CFR 292.1(a)(2).
                                                                            4.b.   Name of Law Student or Law Graduate




Form   G-28     05/23/18                                                                                                              Page   I of4
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         3, Notice of              rance as Attorney            or         C lie nt's C o ntacl I nfo rmation
 Accredited
                                                                          10.     Daytime Telephone Number
 Ifyouneed extra space to complete this section, use the space
provided in Part 6. Additional Information.

This appearance relates to immigration matters before
                                                                          11.     Mobile Telephone Number (if any)
(select only one box):                                                             (917) 794-8963
 1.a. El U.S.Citizenship and Immigration Services (USCIS)                 12.     Email Address (if any)
 1.b. List the form numbers or specific matter in which                           wgsumaiit@gmail.com
                     is entered.

         l-4851             ration Matters                                Mailing Address of Client
2.a. n U.S. Immigration and Customs Enforcement (ICE)                     NOTE: Provide the client's mailing address. Do not provide
                                                                          the business mailing address ofthe attorney or accredited
2.b. List the specific matter in which appearance is entered.
                                                                          representative unless it seryes as the safe mailing address on the
                                                                          application or petition being filed with this Form G-28.

3.a. n U.S. Customs and Border Protection              (CBP)              13.a. StreetNumber
                                                                                                 10 Winding Lane
                                                                                  and Name
3.b. List the     matter in which                          is entered.
                                                                          13.b.!Apt.         !ste. !rr
4.     Receipt Number     (if                                             13.c. City or Town     Greenwhich
                                                                          13.d. State   CT       13.e. ZIP Code 06831
5.     I enter my appearance as an attomey or accredited
       representative at the request ofthe (select only one box):         13.f. Province
       fi Applicant I Petitioner I Requestor                              13.g. Postal Code
       fl Beneficiary/Derivative fl Respondent (ICE, CBP)
                                                                          13.h.
I nfu r matio n A b o ut C I ie nt   (App I ic a nt, P e t it io n e r,           USA
                   iary or D e r iv at ive, R esp o n de nt,
Re q aes to r, B e n efic
or Autltorized Signotoryfor an Entity)
                                                                          Part 4. Client's Consent toRepresentation and
6.a.   Family Name                                                        Signature
       (Last Name)       SUMAJIT
6.b.   Given Name
                         Walter
                                                                          Consent to Representation and Release             of
       (First Name)                                                       Information
6.c.   Middle Name       Gadrinab                                         I have requested the representation ofand consented to being
7.a.   Name of Entity (if applicable)                                     represented by the attomey or accredited representative named
                                                                          in Part l. of this form. According to the Privacy Act of 1974
                                                                          and U.S. Department of Homeland Security (DHS) policy, I
7.b. Title ofAuthorized                                                   also consent to the disclosure to the named attorney or
                             Signatory for Entity (if applicable)
                                                                          accredited representative of any records pertaining to me that
                                                                          appear in any system of records of USCIS, ICE, or CBP.
8.     Client's USCIS Online Account Number (if any)


9.     Client's Alien RegistrationNumber (A-Number) (if any)
                            >A-




Form   G-28   05123118                                                                                                           Page 2 of 4
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 Part 4. Clientrs Consent to Representation and                         Part 5. Signature of Attorney or Accredited
 Signature (continued)                                                  Representative
 Options Regarding Receipt             of   USCIS Notices and           I have read and understand the regulations and conditions
                                                                        contained in 8 CFR 103.2 and 292 goveming appearances and
 Documents
                                                                        representation before DHS. I declare under penalty of perjury
USCIS will send notices to both a represented party (the client)        under the laws of the United States that the information I have
and his, her, or its attorney or accredited representative either       provided on this form is true and correct.
through mail or electronic delivery. USCIS will send all secure
                                                                        l. a.   Signature   of        or Accredited Representative
identity documents and Travel Documents to the client's U.S.
mailing address.
If you want to have notices and/or   secure identity documents          l.b.
sent to your attomey or accredited representative ofrecord rather
                                                                                Date of Signature                     lt    I            I
than to you, please select all applicable items below. You may          2.a.                ofLaw Student or Law Graduate
change these elections through written notice to USCIS.

 1.a.   fil   I request that USCIS send original notices on an
              application or petition to the business address of my     2.b.    DaIe of Signature (mm/dd/yyyy)
              attorney or accredited representative as listed in this
              form.
1.b. !        I request that USCIS send any secure identity
              document (Permanent Resident Card, Employment
              Authorization Document, or Travel Document) that I
              receive to the U.S. business address of my attomey or
              accredited representative (or to a designated military
              or diplomatic address in a foreign country (if
              permitted)).
              NOTE: Ifyour notice contains Form I-94,
              Arrival-Departure Record, USCIS will send the
              notice to the U.S. business address of your attomey
              or accredited representative. Ifyou would rather
              have your Form I-94 sent directly to you, select
              Item Number L.c.
1.c. !        I request that USCIS send my notice containing Form
              I-94 to me at my U.S. mailing address.

Signature of Client or Authoriz,ed Signatoryfor un
Entity
2.a.               of Client                 Signatory for an Entity

+
2.b.    Date of Signature                        It lq       t6




Form   G-28 09/17/18                                                                                                            Page 3   of4
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 Part 6. Additional Information                                   4.a.   Page   Number 4.b.   Part   Number 4.c.   Item Number

 Ifyou  need extra space to provide any additional information
 within this form, use the space below. If you need more space    4.d.
 than what is provided, you may make copies of this page to
 complete and file with this form or attach a separate sheet of
 paper, Type or print your name at the top of each sheet;
 indicate the Page Number, Part Number, and Item Number
 to which your answer refers; and sign and date each sheet.
 l.a     Family Name
         (Last Name)
 1.b.    Given Name
         (FirstName)
 l.c.    MiddleName

2.a.    Page   Number 2.b.   Part   Number 2.c.    Item Number



2.d.
                                                                  5.a.   Page   Number 5.b. PartNumber 5.c. Item Number


                                                                  5.d.




3.a.    Page   Number 3.b.   Part   Number 3.c.    Item Number



3.d.                                                              6.a.   Page   Number 6.b.   Part   Number 6.c.   Item Number



                                                                  6.d.




Form   G-28    09/17/18                                                                                              Page 4   of4
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                                          Application to Register Permanent Residence
                                                         or Adjust Status                                                                       USCIS
                                                                                                                                               Form I-485
                                                          Department of Homeland Security                                                  OMB No. 1615-0023
                                                      U.S. Citizenship and Immigration Services                                            Expres 06/30/2019


                                                                   For USCIS Use Only
 Preference Category:                                                      Receipt                                              Action Block

 Country Chargeable:

 Priority Date:

 Date Form I-693 Received:
                                                                     Section of Lnw
  [J    Applicant       E   Interview
        Interviewed         Waived               tr   INA 209(a)     tr    INA249
  Date   of                                      tr   rNA 209(b)     I     Sec.   13,Actot9/ll/57
  Initial Interview:                             tr   INA 245(a)     I     Cuban Adjustment Act
  Lawful Permanent                               tr   rNA245(i)      D     Other
  Resident as of:                                D    INA245(m)


                                        To be completed by an attorn€y or accredited representative (ifany).

  ffi    Select this box    if       Volag Number                    Attorney State Bar Number                 Attorney or Accredited Representative
         tr'orm G-28 is              (if any)                        (if           icable)                     USCIS Online Account Number (if any)
         attached.
                                                                      1307222

                                                                                                        A-Number    )    A-
NOTE TO ALL APPLICANTS: If you do not completely fill out this application or fail to submit required documents listed in the
Instructions, U.S. Citizenship and Immigration Services (USCIS) may deny your application.
                                                                                         3.a.
Part l. Information About You (Person applying                                                  Family Name
                                                                                                (Last Name)
for lawful perrnanent residence)                                                         3.b.   Given Name
                                                                                                (First Name)
Your Current Legal Name (do not provide a
                                                                                         3.c.   Middle Name
nickname)
l.a.     Family Name
                            SI,JMAJIT                                                    4.a.   Family Name
         (Last Name)                                                                            (Last Name)
1.b.     Given Name
                            Walter                                                       4.b.   Given Name
         (First Name)                                                                           (First Name)
1.c. Middle Name Gadrinab                                                                4.c.   Middle Name


Other Names You Have Used Since Bbth                           (if                       Other Information About Yoa
applicable)
                                                                                         5.     Date of Birth (mm/dd/yyyy)                0812311971
NOTE: Provide all other          names you have ever used, including
your family name at birth, other legal names, nicknames,                                        NOTE: In addition to providing your       actual date of birth,
aliases, and assumed names. Ifyou need extra space to                                           include any other dates ofbirth you have used in
complete this section, use the space provided in Part 14.                                       connection with any legal names or non-legal names in
Additional Information.                                                                         the space provided in Part 14. Additional Information.
2.a.     Family Name
                                                                                         6.
         (Last Name)        NONE                                                                Sex        ffi rraale    f]   Female

2.b.     Given Name                                                                      7            or Town of Birth
         (First Name)
                                                                                                Cagayan de Oro
2.c.     Middle Name


Form    I-485 12/13/17 N                                               38003A-K                                                                   Page   I of18
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                                                                                              A-Number) A-


Part 1. Information About You (Person applying                              Recen t Immigratio n            History
 for lawful permanent residence) (continued)                                Provide the information for Item Numbers f5. - 19. ifyou last
                                                                            entered the United States using a passport or travel document.
8.       C      of Birth
          PHILIPPINES                                                       15.               Number Used at Last Anival
                                                                                    xx5524349
9.            of                   or
         PHILIPPINES                                                        16.     Travel Document Number Used at Last Arrival

10.     Alien Registration Number
                             >A-                                            17.     Expiration Date of this Passport or Travel Document
                                                                                    (mm/dd/yyyy)                             ou1412015
        NOTE: If you have EVER      used other A-Numbers,
        include the additional A-Numbers in the space provided              18.               that Issued this           or Travel Document
        in Part 14. Additional Information.
                                                                                        PHILIPPINES
ll.     USCIS Online Account Number           (if       )                   19.     Nonimmigrant Visa Number from this                (ifany)
                                                                                    51925789
12.     U.S. Social Security Number (if any)
                                                                            Place of Last Anival into the United States
                                         5 4 0      I       5   2,9:7   6
                                                                            20.a. City or Town

         Mailing Address                                                            New York
 U.S,

13.a. In Care OfName                                                        20.b. State      NY

                                                                            21.     Date of Last Arrival (mm/dd/yyyy)        o4na20fi
13.b. Street Number
        and Name
                           10 Winding Lane                                  When I last arrived in the United States, I:
                                                                                          Was inspected at a port of entry and admitted as (for
13.c.[Apr          n    ste.   n        Fh.                                 22.a.   fi
                                                                                          example, exchange visitor; visitor, waived through;
13.d. City or Town                                                                                  worker; student):
                           Greenwich
13.e. State   CT           13.f. ZIP Code 06831
                                                                            22.b.   n     Was inspected at a port of entry and paroled as (for
                                                                                          example, humanitarian parole, Cuban
Alternate and/or Safe Mailing Address
If you are applying based on the Violence Against Women Act                 22.c.   I     Came into the United States without admission or
(VAWA) or as a special immigrant juvenile, human trafficking
                                                                                          parole.
victim (T nonimmigrant), or victim of   a qualifying crime (U
nonimmigrant) and you do not want USCIS to send notices                     22.d.   J     Other:
about this application to your home, you may provide an
alternative and/or safe mailing address.
                                                                            If you were issued     a   Form I-94 Anival-Departure Record Number:
14.a. In Care Of Name
                                                                            23.a. Form I-94 Anival-Departure Record Number

14.b. StreetNumber
                                                                                                           2i3i2      2 7 4 5 6        1   2 4
      andName                                                               23.b. Expiration Date of Authorized Stay Shown on Form I-94
la.c.   fl   Apr   f]   Ste.   I        Flr                                         (mm/dd/yyyy)                             0111912018

14.d. City or Town                                                          23.c. Status on Form I-94 (for example, class of admission, or
                                                                                              if
14.e. State              l4.f- ZIP Code                                             HlB


Form    I-485 l2ll3/17 N                                                                                                             Page 2   of l8
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                                                                                            A-Number   )   A-


 Part 1. Information About You (Person applying                           l.d.   Asylee or Refugee

 for lawful permanent residence) (continued)                                     I    Asylum status (INA section 208), Form I-589 or
                                                                                      Form I-730
 24.    What is your current immigration status (if it has changed
        since your arrival)?                                                     I    Refugee status (INA section 207),Form I-590 or
                                                                                      Form I-730
           l-485 Pending
                                                                          1.e. Human Trafficking Victim or Crime Victim
Provide your name exactly as it appears on your Form I-94           (if          I    Human trafficking victim (TNonimmigrant), Form
any)                                                                                  I-914 or derivative family member, Form I-914A
25.a. Family Name                                                                I    Crime victim (U Nonimmigrant), Form I-918,
      (Last Name)         SUMAJIT
                                                                                      derivative family member, Form I-918A, or
25.b. Given Name                                                                      qualifring family member, Form I-929
      (First Name)        WALTER
                                                                          1.f.   Special Programs Based on Certain Public Laws
25.c. Middle Name         GADRINAB
                                                                                 I    fne   Cuban Adjustment Act


 Part2. Application Type or Filing Category
                                                                                 I    fne   Cuban Adjustment Act for battered spouses and
                                                                                      children
NOTE: Attach a copy of the Form I-797 receipt or approval                        I    Dependent status under the Haitian Refugee
notice for the underlying petition or application, as appropriate.                    Immigrant Fairness Act
I am applying to register lawful     permanent residence or adjust               f]   Dependent status under the Haitian Refugee
status to that of a   lawful permanent resident based on the                          Immigrant Faimess Act for battered spouses and
following immigrant category (select only one box). (See the                          children
Form I-485 Instructions for more information, including any
Additional Instructions that relate to the immigrant category                    !    LautenbergParolees
you select.):                                                                    !    Oiplomats or high ranking officials unable to retum
                                                                                      home (Section 13 of the Act of September I l, 1957)
1.a. Family-based
       I     Immediate relative of a U.S. citizen,Form I-130                     f]   Indochinese Parole Adjustment Act of 2000

                                                                          1.g. AdditionalOptions
       I     Ottrer relative of a U.S. citizen or relative of a lawful
             pemanent resident under the family-based preference                 I    Oiversity Visa program
             categories, Form I-130
                                                                                 I    Continuous residence in the United States since
       I     Person admitted to the United States as a fianc6(e) or                   before January l,1972 ("Registry")
             child of a fianc6(e) of a U.S. citizen, Form I-129F
             (K- I /K-2 Nonimmigrant)                                            I    tndividual born in the United   Staxes under   diplomatic
                                                                                      status
       I     Wiaow or widower of     a U.S.   citizen, Form I-360
                                                                                 I    other
       !     VeWe self-petitioner, Form I-360
1.b.   Employment-based
                                                                          2.     Are you applying for adjustment based on the
       []    etien worker, Form I-140                                            Immigration and Nationality Act (INA) section 245(i)?

       !    etien entrepreneur, Form I-526                                                                                Ives XNo
l.c.   Special Immigrant                                                         NOTE: If you      answered "Yes" to Item Number Z.,you
                                                                                 must have selected a family-based, employment-based,
       I    Religious worker, Form I-360
                                                                                 special immigrant, or Diversity Visa immigrant category
       fl    Special immigrant juvenile, Form I-360                              listed above in Item Numbers l.a. - l.g. as the basis for
                                                                                 your application for adjustment of status. Fill out the rest
       I    Certain Afghan or Iraqi national, Form I-360                         of this application and Supplement A to Form I-485,
                                                                                 Adjustment of Status Under Section 245(i) (Supplement
       fl   Certain international broadcaster, Form I-360
                                                                                 A). For detailed filing instructions, read the Form I-485
       I    Certain G-4 international organization or family                     Instructions (including any Additional Instructions that
            member oTNATO-6 employee or family member,                           relate to the immigrant category that you selected in ltem
            Form I-360                                                           Numbers l.a. - 1.g.) and Supplement A Instructions.

Form   I-485   l2ll3ll7   N                                                                                                          Page 3   of l8
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                                                                                              A-Number        )    A-


    Part 2. Application Tlpe or Filing Category                           3.     Decision (for example, approved, refused, denied,

    (continued)

    Information About Yoar Immigrunt Cntegory                             4.     Date of Decision (mm/dd/yyyy)
 If you   are the   principal applicant, provide the following
 information.
                                                                          Address History
3.        Receipt Number of Underlying Petition (if any)
                                                                          Provide physical addresses for everywhere you have lived
                                                                          during the last five years, whether inside or outside the United
                                                                          States. Provide your current address first. Ifyou need extra
4.        Priority Date from Underlying Petition (if any)
                                                                          space to complete this section, use the space provided in
          (mm/dd/yyyy)                                                    Part   14.   Additional Information.
If you are a derivative applicant      (the spouse or unmarried           Physical Address          I (current address)
child under 2l years ofage ofa principal applicant), provide the
following information for the principal applicant.
                                                                          5.a.   StreetNumber
                                                                                                         10 Winding Lane
                                                                                 and Name
Principal Applicant's Name                                                s.b.   n       ept.   I      ste.   f] rt
5.a.    Family Name
        (Last Name)                                                       5.c.   City or Town            Greenwich
5.b.    Given Name
        (First Name)                                                      5.d.   State    CT            5.e. ZIP Code 06831
5.c.    Middle Name
                                                                          5.f.   Province
6.      Principal Applicant's A-Number
                                 >A-                                      5.g.   Postal Code

7       Principal Applicant's Date of Birth                               5.h.

        (mmidd/yyyy)                                                              USA

8.                                                                        Dates of Residence
        Receipt Number      of          'sU           Petition (if any)
                                                                          6.a.   From (mm/dd/yyyy)                            0813012014
9.      Priority Date of Principal Applicant's Underlying Petition
                                                                          6.b.   To (mm/dd/yyyy)                              Present
        (if any) (mm/dd/yyyy)
                                                                          Physical Address 2

Part 3. Additional Information About You                                  7.a.   StreetNumber
                                                                                                         90-50 52nd Avenue
                                                                                 and Name
I      Have you ever applied for an immigrant visa to obtain
                                                                                 X              !
       permanent resident status at a U.S. Embassy or U.S.
                                                                          7.b.         apt.            ste.   fl   rtr    1

       Consulate     abroad?                      yes
                                                 fl         X
                                                            No            7.c.   City or Town            Elmhurst
       If you answered "Yes" to Item Number 1., complete                  7.d.   State                  7.e. ZIP Code 11373
                                                                                          NY
       Item Numbers 2.a. - 4. below. If you need extra space to
       complete this section, use the space provided in Part 14.          7.f.   Province
       Additional Information.
Location of U.S. Embassy or U.S. Consulate                                7.9.   Postal Code

2.a.   City                                                               7.h.

2.b.   Country
                                                                                  USA




Form   I-485 l2/l3ll7 N                                                                                                             Page 4   of l8
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                                                                                            A-Number) A-

                                                                         Address of Employer or Company
 Part 3. Additional Information About You
 (continued)                                                             12.a. Street Number
                                                                                 and Name
                                                                                                 132 Nassau Street
 Dates of Residence                                                      12.b.n        Apt.x    Ste.   n    Fh     11 03
8.a.    From (mm/dd/yyyy)                           0110612014           12.c. City or Town      New York
8.b.    To (mm/dd/yyyy)                             0812912014           12.d. State             12.e. ZIP Code
                                                                                        NY                          10038
Provide your most recent address outside the United States
where you lived for more than one year (if not already listed            12.f. Province
above).
                                                                         12.g. Postal Code
9.a.    StreetNumber
                           Totesora Compound, Jupiter Street
        and Name                                                         12.h.
e.b.[npt.ISte.Inr.                         Pacheco Subd., City Heights            USA
9.c.    City or Town       General Santos City                           13.     Your
                                                                                 Gom uter                   Anal
9.d.    State             9.e. ZIP Code
                                                                         Dates of Employment
9.f. Province              South Cotabato                                14.a. From (mmidd/yyyy)                            01to9t2012
9.e.    Postal Code        9500                                          14.b. To (mm/ddiyyyy)                              0110912018
9.h.
        PHILIPPINES                                                      Employer 2

Dates of Residence
                                                                         15.     Name of Employer or Company


10.a. From (mm/dd/yyyy)                             0410112009
                                                                         Address of Employer or Company
10.b. To (mm/dd/yyyy)                               0411112011           16.a. StreetNumber
                                                                                 and Name

Employment History                                                       16.b.   n   Apt.   n   Sre.   f]   Flr
Provide your employment history for the last five years,
                                                                         16.c. City or Town
whether inside or outside the United States. Provide the most
recent employment first. If you need extra space to complete
                                                                         16.d. State             16.e. ZIP Code
this section, use the space provided in Part 14. Additional
Information.                                                             16.f. Province
Employer    I   (current or most recent)
                                                                         16.9. Postal Code
11.    Name of Employer or Company
        P3 lnternational Gorporation                                     16.h.



                                                                         17.     Your


                                                                         Dates of Employment

                                                                         18.a. From (mm/dd/yyyy)

                                                                         18.b. To (mm/dd/yyyy)




Form   I-485 l2ll3/17 N                                                                                                        Page 5   of l8
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                                                                                            A-Number   )   A-


 Part 3. Additional Information About You                                  3.     Date of Birth (nm/dd/yyyy)              1?/2911941
 (continued)
                                                                           4.     Sex         []Uale !Female
 Provide your most recent employment outside of the United
                                                                           5.          or Town of Birth
 States (ifnot already listed above).

 19.     Name of Employer or Company
                                                                                   Tapel-Gonzaga
                                                                           6.     Country of Birth
            Bravo 8 Technologies
                                                                                   PHILIPPINES
 Address of Employer or Company
                                                                           7.     Current        or Town of Residence (if living)
 20.a. Street Number
                            Jl2, JMP Bldg.ll, Aparente St., City Helghts
       andName                                                                     DECEASED
20.b.n        Apt.n     Ste.    X    Flr.    2nd                           8.     Current Country of Residence (if living)

20.c. City or Town           General Santos City
20.d. State                 20.e. ZIP Code                                 Informotion About Your Parent 2
20.f. Province                                                             Parent 2's Legal Name
                            South Cotabato
                                                                           9.a.   Family Name
20.g. Postal Code           9500                                                  (Last Name)      SUMAJIT

20.h.
                                                                           9.b.   Given Name
                                                                                                   Esther
                                                                                  (First Name)
            PHILIPPINES                                                    9.c.   MiddleName       Gadrinab
21.     Your
                                                                           Parent 2's Name at Birth (if different than above)
            lT Project Manager/Business Process Analyst
                                                                           10.a. Family Name
Dates of Employment                                                              (Last Name)       GADRINAB
                                                                           10.b. Given Name
22.a.   F   rom (mm/dd/yyyy)                           0512012006                (First Name)      Esther
                                                                           10.c. Middle Name       Floreto
22.b. To (mm/dd/yyyy)                                  0313112011

                                                                           11.    Date of Birth (mm/dd/yyyy)              1111911941
 Part 4. Information About Your Parents
                                                                           12. Sex I Vale I                     Female
Information About Your Parent                 I                            13. City or Town ofBirth
Parent l's Legal Name                                                              Lanise-Glaveria
l.a.    Family Name
                        SUMAJIT                                            14.    Country of Birth
        (Last Name)
l.b.    Given Name
                                                                                   PHILIPPINES
        (First Name)    Bonifacio
                                                                           15.    Cunent City or Town of Residence (if living)
1.c. Middle Name Sabornido                                                        DECEASED
Parent I's Name at Birth (if different than above)                         16.    Current Country of Residence (if living)
2.a.    Family Name
        (Last Name)
2.b.    Given Name
        (First Name)

2.c.    Middle Name




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                                                                                              A-Number     )   A-


Part 5. lnformation About Your Marital Hisfory                                 Place of Marriage to Current Spouse
                                                                               9.a. City or Town
1.       What is your current marital status?
                                                                                     Cagayan de Oro
       !       Single, Never   Married   I       Manied   f]   Divorced
                                                                               9.b.    State or Province
       f]      Widowed    I    Maniage Annulled
                                                                                        Misamis Oriental
       I    Legally Separated
                                                                               9.c.    Country
2.       If you   are married, is your spouse a current member of the
         U.S. armed forces or U.S. Coast Guard?                                         PHILIPPINES
                                             !    Nle   fl     ves   X    No   10.     Is your current spouse applying   with you?
3.       How many times have you been married (including                                                                       IYes nNo
         annulled marriages and marriages to the same
                                                                               Informatiotr About Prior Maniages (rf ani
                                                                               If you have been manied before, whether in the United         States or
Information About Your Currenl Marriage                                        in any other country, provide the following information about
(including ityou are legally separated)                                        your prior spouse. Ifyou have had more than one previous
                                                                               marriage, use the space provided in Part 14. Additional
If you   are   cunently married, provide the following information
                                                                               Information to provide the information below.
about your current spouse.
                                                                               Prior Spouse's Legal Name (provide family name before
Current Spouse's Legal Name
                                                                               marriage)
4.a.   Family Name
       (Last Name)        SUMAJIT                                              11.a. Family Name
                                                                                     (Last Name)
4.b.   Given Name
       (First Name)       Melthie                                              11.b. Given Name
                                                                                     (First Name)
4.c.   Middle Name        Conde                                                11.c. Middle Name
5.     A-Number (if any)
                                                                               12.     Prior Spouse's Date of Birth
                                >A-
6.     Current Spouse's Date of Birth
                                                                               13.     Date of Marriage to Prior Spouse
                                                     0512411971

7.     Date ofMarriage to Current Spouse
                                                                               Place of Maniage to Prior Spouse
                                                     0512011994
                                                                               14.a.        or Town
Current Spouse's Place of Birth
8.a. City or Town
                                                                               14.b. State or Province
         Jabonga
8.b.   State or Province
                                                                               14.c. Country
         Agusan del Norte
8.c.   Country
                                                                               15.     Date Marriage with Prior Spouse               Ended
         PHILIPPINES                                                                   (mm/dd/yyyy)




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                                                                                          A-Number )> A-


                                                                         child 2
 Part 5. Information About Your Marital History
 (continued)                                                             Current Legal Name
                                                                         7.a.    Family Name
Place Where Maniage with Prior Spouse Legally Ended                              (Last Name)         SUMAJIT
 16.a.             or Town                                               7.b.    Given Name
                                                                                                     Hyeje
                                                                                 (First Name)

                                                                         7.c.    Middle Name         Conde
 16.b. State or Province
                                                                         8.      A-Number (if any)

16.c. Country
                                                                                                         >A-
                                                                         9.      Date of Birth (mm/dd/yyyy)               01losl1997
                                                                         10.     Country of Birth
 Part 6. Information About Your Children                                             PHILIPPINES
1.          Indicate the total number of ALL living children                                                     you?
            (including adult sons and daughters) that you have.
                                                                         11.     Is this child applying   with            [ Yes X          No

            NOTE:     The term "children" includes all biological or     child   3
            legally adopted children, as well as current stepchildren,
                                                                         Current Legal Name
            of any age, whether bom in the United States or other
            countries, married or unmarried, living with you or          12.a. Family Name
                                                                               (Last Name)           SUMAJIT
            elsewhere and includes any missing children and those
            born to you outside of marriage.                             12.b. Given Name
                                                          4                    (First Name)          Niiah
Provide the following information for each of your children.             12.c. Middle Name           Conde
Ifyou have more than three children, use the space provided in
P    art   14.   Additional Information.
                                                                         13.     A-Number (if any)

child l
                                                                                                         >A-
Current Legal Name                                                       14.     Date of Birth (mm/dd/yyyy)               o6loa1998
2.a.       Family Name
                             SUMAJIT                                     15.                  of Birth
           (Last Name)
2.b.       GivenName
                                                                                     PHILIPPINES
           (First Name)      Jyroh
                                                                         16.     Is this child applying   with   you? ffi    Ves    f]     No
2.c.       Middle Name       Gonde
3.         A-Number (if any)
                                                                         Part 7. Biographic Information
                                >A-
                                                                         1.      Ethnicity (Select only one box)
4.         Date of Birth (mm/dd/yyyy)              09/09/1995                    I    Hispanic or Latino
5.         Country of Birth                                                      fi   Not Hispanic or Latino
            PHILIPPINES                                                  2.      Race (Select     all applicable boxes)

6.         Is this child applying with   you?       ! Ves XNo                    I    wtrite
                                                                                 I    Asian

                                                                                 !    Black or African American

                                                                                 I    American Indian or AlaskaNative

                                                                                 I    Native Hawaiian or Other Pacific Islander




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 Part 7, Biographic Information (continued)                            Dates of Membership or Dates of Involvement


                                                       Inches 5
                                                                       5.a.    From (mm/dd/yyyy)                0711712010
3.      Height                      Feet   5
                                                                       5.b.    To (mm/dd/yyyy)                  0611312016
4.      Weight                                  Pounds         5   7
J.      Eye Color (Select only one box)                                Organization2

       I elack ! nlue                       fJBrown                    6.      Name of Organization

       I cray f]creen                       I    Hazel

       f]Maroon ! rint                      f]Unknowr/Other            7.a. City or Town
6.      Hair Color (Select only one box)

       I nata (No hair) ffi Black           !    nlond                 7.b.    State or Province

       I Brown I cray                       !    nea

       I Sandy f] wtrite                    !    Unknown/Other         7.c.    Country



Part 8. General Eligibility and Inadmissibilify                        8.      Nature of Group
Grounds
1.     Have you EVER been a member of, involved in, or in              Dates of Membership or Dates of Involvement
       any way associated with any organization, association,
       fund, foundation, party, club, society, or similar group in     9.a.    From (mm/ddiyyyy)
       the United States or in any other location in the world
       including any military service? [                               9.b.    To (mm/dd/yyyy)
                                                    Ves    n   No

If you answered "Yes" to Item Number 1., complete ltem                 Organization 3
Numbers 2. - 13.b. below. If you need extra space to complete
this section, use the space provided in Part 14. Additional
                                                                       10.     Name of Organization
Information. If you answered "No," but are unsure of your
answer, provide an explanation ofthe events and circumstances
in the space provided in Part 14. Additional Information.
                                                                       ll.a.   City or Town

Organization I
                                                                       11.b. StateorProvince
2.     Name of Organization

        Philippine Society lndustrial Security
                                                                       11.c. Country
3.a.           or Town

        General Santos
3.b.   State   orProvince
                                                                       12.     Nature of Group

        South Gotabato
                                                                       Dates of Membership or Dates of Involvement
3.c.   Country
        PHILIPPINES                                                    13.a. From (mm/dd/yyyy)

4.     Nature of Group
                                                                       13.b. To (mm/dd/yyyy)
        Enhancing Skills on lnformation Security




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         8. General Eligibility      and Inadmissibility            Crimind Acts and Yiolations
 Grounds (continued)                                                For ltem Numbers 25. - 45., you must answer "Yes" to any
                                                                    question that applies to you, even ifyour records were sealed or
Answer Item Numbers 14. - 80.b. Choose the answer that you
                                                                    otherwise cleared, or even ifanyone, including ajudge, law
think is correct. If you answer "Yes" to any questions (or if
                                                                    enforcement officer, or attorney, told you that you no longer
you answer ttNortt but are unsure of your answer), provide
                                                                    have a record. You must also answer "Yss" to the following
an explanation ofthe events and circumstances in the space
                                                                    questions whether the action or offense occurred here in the
provided in Part 14. Additional Information.
                                                                    United States or anywhere else in the world. If you answer
 1,4.   Have you EVER been denied admission to the United           "Yes" to ltem Numbers 25. - 45., use the space provided in
        States?                                [Ves XNo             Part14. Additional Information to provide an explanation
                                                                    that includes why you were arrested, cited, detained, or charged;
 15.    Have you EVER been denied a visa to the United States?      where you were arrested, cited, detained, or.charged; when
                                                                    (date) the event occurred; and the outcome or disposition (for
                                               !ves XNo             example, no charges filed, charges dismissed, jail, probation,
16.     Have you EVER worked in the United States without           community service).
        authorization?                         f] Ves X       Uo    25.   Have you EVER been arrested, cited, charged, or
                                                                          detained for any reason by any law enforcement official
17. Have you EVER violated the terms or conditions of your                (including but not limited to any U.S. immigration
        nonimmigrant   status?                 f] Ves X       No          official or any official of the U.S. armed forces or U.S.
18.     Are you presently or have you EVER been in removal,
                                                                          Coast Guard)?                           f]    yes  X    No
        exclusion, rescission, or deportation proceedings?
                                                                    26.   Have you EVER committed a crime of any kind (even if
                                               !Yes XNo                   you were not arrested, cited, charged with, or tried for that

19.     Have you EVER been issued a final order ofexclusion,
                                                                          crime)?                                 lVes XNo
        deportation, orremoval?               [ Ves      XNo        27. Have you EVER pled guilty to or been convicted of a
                                                                          crime or offense (even if the violation was subsequently
20.     Have you EVER had a prior final order ofexclusion,
                                                                          expunged or sealed by a court, or ifyou were granted a
        deportation, or removal reinstated?      Ves
                                              f]         X No             pardon, amnesty, a rehabilitation decree, or other act of

21.     Have you EVER held lawful permanent resident status
                                                                          clemency)?                              [yes       XNo
        which was later rescinded?            yes
                                              [          XNo              NOTE: If you were     the beneficiary of a pardon, amnesty,
22.     Have you EVER been granted voluntary departure by an              arehabilitation decree, or other act ofclemency, provide
                                                                          documentation of that post-conviction action.
        immigration officer or an immigration judge but failed to
                                 time?
        depart within the allotted
                                              !   yes    X    No    28.   Have you EVER been ordered punished by ajudge or had
                                                                          conditions imposed on you that restrained your liberly
23.     Have you EVER applied for any kind of relief or                   (such as a prison sentence, suspended sentence, house
        protection from removal, exclusion, or deportation?               arrest, parole, alternative sentencing, drug or alcohol
                                                                          treatment, rehabilitative programs or classes, probation, or
                                              I    ves   X    tto
                                                                          community   service)?
24.a. Have you EVER been a J nonimmigrant exchange visitor                                                        ! Ves X          No
      who was subject to the two-year foreign residence             29.   Have you EVER been a defendant or the accused in a
        requirement?                          f] yes X        No          criminal proceeding (including pre-trial diversion,
                                                                          deferred prosecution, deferred adjudication, or any
If you answered "Yes" to Item Number 24.a., complete ltem                 wirhheld   adjudication)?               ! yes X          No
Numbers 24.b. -24.c. Ifyou answered "No" to ltem Number
24.a., skip to Item Number 25.                                      30.   Have you EVER violated (or attempted or conspired to
                                                                          violate) any controlled substance law or regulation of a
24.b. Have you complied with the foreign residence
                                                                          state, the United States, or a foreign country?
        requirement?                          [Ves nNo                                                            !    ves   X     lro
24,c. Haveyou been granted a waiver or has Department of
      State issued a favorable waiver recommendation letter
        foryou?                               fl   yes   n    No


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 Part 8. General Eligibility and Inadmissibilify
                                                                        42.   Have you EVER trafficked a person into involuntary
                                                                              servitude, peonage, debt bondage, or slavery? Trafficking
 Grounds (continued)                                                          includes recruiting, harboring, transporting, providing, or
                                                                              obtaining a person for labor or services through the use of
31.   Have you EVER been convicted of two or more offenses
                                                                              force, fraud, orcoercion.
      (other than purely political offenses) for which the                                                             !   Ves    X  No
      combined sentences to confinement were five years or
      more?                                                             43.   Have you EVER knowingly aided, abetted, assisted,
                                               [yes        XNo                conspired, or colluded with others in trafficking persons
                                                                              for commercial sex acts or involuntary servitude,
32.   Have you EVER illicitly (illegally) trafficked or benefited
                                                                              peonage, debt bondage, or slavery?
      from the trafficking ofany controlled substances, such as                                                        !   Ves    X  Uo
      chemicals, illegal drugs, or narcotics?     Ves
                                               !           XNo          44.   Are you the spouse, son or daughter ofa foreign national
                                                                              who engaged in the trafficking ofpersons and have
33.   Have you EVER knowingly aided, abetted, assisted,
                                                                              received or obtained, within the last five years, any
      conspired, or colluded in the illicit trafficking of any
                                                                              financial or other benefits from the illicit activity ofyour
      illegal narcotic or other controlled substances?
                                                                              spouse or your parent, although you knew or reasonably
                                               IYes XNo                       should have known that this benefit resulted from the illicit
                                                                              activity of your spouse or parent?             yes
34.   Are you the spouse, son, or daughter of a foreign national                                                       !          X     No
      who illicitly trafficked or aided (or otherwise abetted,
      assisted, conspired, or colluded) in the illicit trafficking of
                                                                        45.   Have you EVER engaged in money laundering or have
                                                                              you EVER knowingly aided, assisted, conspired, or
      a controlled substanceo such as chemicals, illegal drugs, or
                                                                              colluded with others in money laundering or do you seek
      narcotics and you obtained, within the last five years, any
                                                                              to enter the United States to engage in such activity?
      financial or other benefit from the illegal activity ofyour
      spouse or parent, although you knew or reasonably should                                                         fl   Yes   X      No
      have known that the financial or other benefit resulted
      from the illicit activity ofyour spouse or parent?
                                                                        Security and Related
                                               fl   ves    X     No
                                                                        Do you intend to:
35.   Have you EVER engaged in prostitution or are you
                                                                        46.a. Engage in any activify that violates or evades any law
      coming to the United States to engage in prostitution?
                                                                              relating to espionage (including spying) or sabotage in the
                                               IYes XNo                       United   Srates?                         [ yes X           No
36.   Have you EVER directly or indirectly procured (or
                                                                        46.b. Engage in any activity in the United States that violates or
      attempted to procure) or imported prostitutes or persons
                                                                              evades any law prohibiting the export from the United
      for the purpose of prostitution?            yes
                                               fl          X     No           States of goodso technology, or sensitive information?

37.   Have you EVER received any proceeds or money from                                                                !ves XNo
      prostitution?                            [yes        XNo          46.c. Engage in any activity whose purpose includes opposing,
                                                                              controlling, or overthrowing the U.S. Govemment by
38.   Do you intend to engage in illegal gambling or any other
                                                                              force, violence, or other unlawful means while in the
      form of commercialized vice, such as prostitution,
                                                                              United States?                            Ves
      bootlegging, or the sale of child pornography, while in the                                                      fl         X No
      Unired States?                             Ves
                                               f]          XNo          46.d. Engage in any activity that could endanger the welfare,
                                                                              safety, or security ofthe United States?
39.   Have you EVER exercised immunity (diplomatic or
      otherwise) to avoid being prosecuted for a criminal                                                              Ives XNo
      offense in the United     States?        [ yes       X     No
                                                                        46.e. Engage in any other unlawful activity?   [ Yes X           No
40.   Have you EVER, while serving as a foreign government
                                                                        47.   Are you engaged in or, upon your entry into the United
      official, been responsible for or directly carried out
                                                                              States, do you intend to engage in any activity that could
      violations of religious   freedoms? [         yes X        No           have potentially serious adverse foreign policy
                                                                              consequences for the United States?
41.   Have you EVER induced by force, fraud, or coercion (or                                                           [  Ves     X  No
      otherwise been involved in) the trafficking of persons for
      commercial sex   acts?                   [ Ves X           No


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                                                                     51.d. Provided money,   a thing of value, services or labor, or
 Part 8. General Eligibility and Inadmissibility
                                                                           any other assistance or support for any ofthe activities
 Grounds (continued)                                                       described in Item Number      51.a.? fl      yes    X   No
Have you EVER:
                                                                     51.e. Provided money, a thing of value, services or labor, or
48.a. Committed, threatened to commit, attempted to commit,                any other assistance or support to an individual, group, or
        conspired to commit, incited, endorsed, advocated,                 organization who did any ofthe activities described in
        planned, orprepared any ofthe following: hijacking,                Item Number     51.a.?                   ! Ves X          No
        sabotage, kidnapping, political assassination, or use of a
        weapon or explosive to harm another individual or cause      51.f. Received any type of military, paramilitary, or weapons
        substantial damage to     properfy? [        Ves   X   No          training from a group or organization that did any ofthe
                                                                           activities described in Item Number 51.a.?
48.b. Participated in, or been a member of, a group or
      organization that did any ofthe activities described in
                                                                                                                    fl   Yes   E     No

       Item Number     48.a.?                    fl yes X       No   NOTE: If you answered "Yes" to any part of ltem Number
                                                                     51., explain the relationship and what occurred, including the
48.c. Recruited members or asked for money or things of value        dates and location ofthe circumstances, in the space provided
      for a group or organization that did any ofthe activities      in Part 14. Additional Information.
      described in Item Number 48.a.?
                                                [ Ves      X  No     52.   Have you EVER assisted or participated in selling,
                                                                           providing, or transporting weapons to any person who,
48.d. Provided money,    a thing ofvalue, services or labor, or
                                                                           to your knowledge, used them against another person?
       any other assistance or support for any ofthe activities
       described in Item Number        48.a.? !    yes     X   No                                                   IYes XNo
48.e. Provided money, athing ofvalue, services or labor, or
                                                                     53.   Have you EVER worked, volunteered, or otherwise
                                                                           served in any prison, jail, prison camp, detention facility,
      any other assistance or support for an individual, group,
                                                                           labor camp, or any other situation that involved detaining
      or organization who did any ofthe activities described in
                       48.a.?                                              persons?                                 [yes       KNo
       Item Number
                                                [ yes X        No

49.    Have you EVER received any type of military,
                                                                     54.   Have you EVER been a member of, assisted, or
                                                                           participated in any group, unit, or organization ofany
       paramilitary, or weapons training?      yes
                                                [          X   No          kind in which you or other persons used any type of
                                                                           weapon against any person or threatened to do so?
50. Do you intend to engage in any ofthe activities listed in
    any part of Item Numbers 48.a. - 49.?
                                          fl Ves X No
                                                                                                    ,               fl   ves KNo

NOTE: If you answered "Yes" to any part of Item Numbers
                                                                     55.   Have you EVER served in, been a member of, assisted,
                                                                           or participated in any military unit, paramilitary unit,
46.a. - 50., explain what you did, including the dates and
                                                                           police unit, self-defense unit, vigilante unit, rebel group,
location of the circumstances, or what you intend to do in the
                                                                           guerilla group, militia, insurgent organization, or any
space provided in   Part   14.   Additional Information.                                group?
                                                                           other armed                                    Ves
Are you the spouse or child of an individual who EVER:
                                                                                                                    f]         X     No

51.a. Committed, threatened to commit, attempted to commit,
                                                                     56.   Have you EVER been a member of, or in any way
                                                                           affiliated with, the Communist Party or any other
      conspired to commit, incited, endorsed, advocated,
                                                                           totalitarian party (in the United States or abroad)?
      planned, or prepared any of the following: hijacking,
      sabotage, kidnapping, political assassination, or use ofa                                                     IYes Xwo
      weapon or explosive to harm another individual or cause
      sdbstantial damage to property?
                                                                     57.   During the period from March 23,1933 to May 8, 1945,
                                                ! yes      X No            did you ever order, incite, assist, or otherwise participate
                                                                           in the persecution ofany person because ofrace, religion,
51.b. Participated in, or been a member or a representative of a
                                                                           national origin, or political opinion, in association with
      group or organization that did any ofthe activities
                                                                           either the Nazi govemment of Germany or any
      described in Item Number 51.a.?
                                             fl yes X No                   organization or government associated or allied with the
                                                                           Nazi govemment of Germany?                     yes
51.c. Recruited members, or asked for money or things of value,                                                     !          X    No
      for a group or organization that did any ofthe activities
      described in Item Number 51.a.?             Ves
                                                [          X  No


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                                                                                       A-Number     )   A-

                                                                        63.c. If your answer to Item Number 63.b. is "Yes," attach   a
 Part 8. General Eligibility and Inadmissibility                              written statement explaining why you had reasonable cause.
 Grounds (continued)
Have you EVER ordered, incited, called for, committed, assisted,
                                                                        '64. Have you EVER submitted fraudulent or counterfeit
                                                                             documentation to any U.S. Govemment official to obtain
helped with, or otherwise participated in any of the following:               or attempt to obtain any immigration benefit, including a
                                                                              visa or entry into the United States?     Ves
58.a. Acts involving torture or genocide?        ! Yes X         No                                                  [          X   No

                                                                        65.   Have you EVER lied about, concealed, or misrepresented
58.b. Killing any    person?                     f] Yes X        No           any information on an application or petition to obtain a
                                                                              visa, other documentation required for entry into the
58.c. Intentionally and severely injuring any person?
                                                                              United States, admission to the United States, or any other
                                                 Ives XNo                     kindof   immigrationbenefit? !              Ves   X    Uo
58.d. Engaging in any kind of sexual contact or relations with
        any person who did not consent or was unable to consent,
                                                                        66.   Have you EVER falsely claimed to be a U.S. citizen (in
        or was being forced or threatened?
                                                                              writing or any other way)?             !Ves       XNo
                                                 ! Ves X         No

58.e. Limiting or denying any person's ability to exercise
                                                                        67.   Have you EVER been a stowaway on a vessel or aircraft

                    beliefs?                                                  arriving in the United Stares?        Ves
                                                                                                                     [          X
                                                                                                                               No
        religious
                                                 ! yes X         No

59.     Have you EVER recruited, enlisted, conscripted, or used
                                                                        68.   Have you EVER knowingly encouraged, induced, assisted,
                                                                              abetted, or aided any foreign national to enter or to try to
        any person under I 5 years of age to serve in or help an
                                                                              enter the United States illegally (alien smuggling)?
        armed force or group?                    [  yes     X    No
                                                                                                                     IYes XNo
60. Have you EVER used any person under l5 years ofage                  69.   Are you under a final order ofcivil penalty for violating
       to take part in hostilities, or to help or provide services to
                                                                              INA section 274C for use of fraudulent documents?
       people in combat?
                                                 [     Ves  X    No
                                                                                                                     Ives XNo
NOTE: If you answered "Yeso'to any part of ltem Numbers
52. - 60., explain what occurred, including the dates and               Removal, Unlawful Presence, or IIIegal Reentry
location ofthe circumstances, in the space provided in Part 14.
                                                                        After Previo us Immigration Violations
Additional Information.
                                                                        70.   Have you EVER been excluded, deported, or removed
Public Assistance                                                             from the United States or have you ever departed the
                                                                              United States on your own after having been ordered
61.    Have you received public assistance in the United States               excluded, deported, or removed from the United States?
       from any source, including the U.S. Government or any
       state, county, city, or municipality (other than emergency
                                                                                                                     fl   ves   X    No

       medical   treatment)?                     [ Ves X         No     71.   Have you EVER entered the United States without being
                                                                              inspected and admitted or paroled?      Ves
62.    Are you likely to receive public assistance in the future in
                                                                                                                     [          X
                                                                                                                                No

       the United States from any source, including the U.S.            Since April 1,1997, have you been unlawfully present in the
       Government or any stateo county, city, or municipality           United States:
       (other than emergency medical treatment)?
                                                                        72.a. For more than 180 days but less than a year, and then
                                                 !Yes XNo                     departed the United States?
                                                                                                                    ! yes X No
Illegal Entries and Otlter Immigration Violations                       72.b. For one year or more and then departed the United States?

63.a. Have you EVER failed or refused to attend or to remain                                                         IvesXNo
      in attendance at any removal proceeding filed against you         NOTE: You were unlawfully present in the United States if
      on or after April1,1997?                   yes                    you entered the United States without being inspected and
                                                 !          X
                                                            No
                                                                        admitted or inspected and paroled, or if you legally entered the
63.b. If your answer to Item Number 63.a. is "Yes," do you              United States but you stayed longer than permitted.
       believeyouhadreasonablecause?
                                                ! yes n         No



Form   I-485 l2ll3/17 N                                                                                                       Page 13   of   18
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                                                                                    A-Number    )   A-


 Part 8. General Eligibility and Inadmissibility                      80.a. Have you EVER left or remained outside the United
                                                                            States to avoid or evade training or service in the U.S.
 Grounds (continued)
                                                                            armed forces in time of war or a period declared by the
Since April l,1997, have you EVER reentered or attempted to                 President to be a national emergency?        Ves
reenter the United States without being inspected and admitted
                                                                                                                    !         X     No

or paroled after:                                                     80.b. If your answer to Item Number 80.a. is'oYss," what was
                                                                            your nationality or immigration status immediately before
73.a. Having been unlawfully present in the United States for
                                                                            you left (for example, U.S. citizen or national, lawful
      more than one year in the aggregat"?
                                            I yes ffi No                    permanent resident, nonimmigrant, parolee, present
                                                                            without admission or          or     other
73.b. Having been deported, excluded, or removed liom the
        United   States?                       [ Ves X         No


 Miscellaneous Conduct                                                Part 9. Accommodations for Individuals With
74.     Do you plan to practice polygamy in the United States?        Disabilities andlor fmpairments
                                               Ives XNo               NOTE: Read the information in the Form I-485 Instructions
                                                                      before completing this part.
75.     Are you accompanying another foreign national who
        requires your protection or guardianship but who is           1.     Are you requesting an accommodation because of your
                                                                             disabilities and/or impairments?
        inadmissible after being certified by a medical officer as
        being helpless from sickness, physical or mental
                                                                                                                 fl yes X No
        disability, or infancy, as described in INA section 232(c)?          If you answered "Yes" to ltem Number   1., select any
                                               Ives XNo                      applicable box in Item Numbers 2.a. - 2.c. and provide
                                                                             an answer.
76.     Have you EVER assisted in detaining, retaining, or
                                                                                 I * deaforhard ofhearing andrequestthe
        withholding custody of a U.S. citizen child outside the       2.a.   n
                                                                                 following accommodation. (If you are requesting a
        United States from a U.S. citizen who has been granted
                                                                                 sign-language interpreter, indicate for which
        custody of the   child?                [ Ves X        No                 language (for example, American Sign Language).):

77.    Have you EVER voted in violation of any Federal, state,
       or local constitutional provision, statute, ordinance, or
       regulation in the United States?              yes
                                               [          X    No
                                                                      2.b.   n   I am blind or have low vision and request the
78.    Have you EVER renounced U.S. citizenship to avoid                         fol lowing accommodation:
       being taxed by the United Srares?      Ves
                                               !          X
                                                         No

Have you EVER:

79.a. Applied for exemption or discharge from training or             2.c. I     I have another fype of disability and/or impairment.
      service in the U.S. armed forces or in the U.S. National                   (Describe the nature ofyour disability andlor
      Security Training Corps on the ground that you are a                       impairment and the accommodation you are
      foreign national?                           yes                            requesting.)
                                               [          X No

79.b. Been relieved or discharged from such training or service
      on the ground that you are a foreign national?

                                               !ves XNo
79.c. Been convicted of desertion from the U.S. armed forces?
                                               fl   ves   X No




Form   I-485 l2/l3ll7 N                                                                                                   Page 14   of   18
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                                                                                          A-Number   ) A-

                                                                        I furthermore authorize release of information contained in this
  Part 10. Applicant's Statemenf Contact                                application, in supporting documents, and in my USCIS
  Information, Declaration, Certification, and                          records, to other entities and persons where necessary for the
  Signature                                                             administration and enforcement of U.S. immigration law.

 NOTE:                                                                 I understand that USCIS may require me to appear for an
           Read the Penalties section of the Form I-485
 Instructions before completing this part. You must file Form          appointment to take my biometrics (fingerprints, photograph,
 I-485 while in the United States.                                     and/or signature) and, at that time,   ifl
                                                                                                               am required to provide
                                                                       biometrics, I will be required to sign an oath reaffirming that:
 Applicant's Statement                                                  1)    I reviewed and understood all of the information
                                                                              contained in, and submitted with, my application; and
 NOTE:     Select the box for either ltem Number 1.a. or     l.b. If
 applicable, select the box for Item Number 2.                         2)     All of this information   was complete, true, and correct at
                                                                              the time of filing.
 t.a. [l    Ican read and understand English, and I have read
            and understand every question and instruction on this      I certi$, under penalty of perjury, that all of the information in
            application and my answer to every question.               my application and any document submitted with it were
                                                                       provided or authorized by me, that I reviewed and understand
 1.b.   I   The interpreter named in Part 11. read to me every
            question and instruction on this application and my        all of the information contained in, and submitted with, my
            allswer to every question in                               application and that all of this information is complete, true,
                                                                       and correct.

            a language    ln        I am fluent,                        Applicant's Signature
            everything.
2. X        At my request, the                        Partl2.,         6.a.

                A11             K     e
                                           named in
                                                                       t
                          application for me                upon
            information I provided or authorized.
                                                                       6.b.   Date   of                                 I                s
                                                                       NOTE TO ALL APPLICANTS: If you do not completely hll
Applicant's Contact Informatio n                                       out this application or fail to submit required documents listed
                                                                       in the Instructions, USCIS may deny your application.
3.      Applicant's Daytime                Number

                                                                        Part ll. Interpreter's Contact Information,
4.                    Mobile              Number (if any)               Certification, and Signature
                      7        794-   9
                                                                       Provide the following information about the interpreter.
f,.                   Email Address
                 wgsumaj it@gmaiI. com                                 Interpreter's Full Name
                                                                       1.a.                          Name           N
Applicant's Declaration and Certification
Copies of any documents I have submitted are exact photocopies
of unaltered, original documents, and I understand that USCIS          1.b.                  Given Name         Name
may require that I submit original documents to USCN at a later
date. Furthermore, I authorize the release of any information
liom any and all of my records that USCIS may need to                  2.                   Business or                 Name
determine my eligibility for the immigration benefit that I seek.

I understand that if I am a male who is l8 to 26 years of age,
submitting this application will automatically register me with
the Selective Service System as required by the Military
Selective Service Act.




Form   I-485 l2l13ll7 N                                                                                                        Page 15   ofl8
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                                                                                    A-Number     )   A-


 Part ll. Interpreterfs Contact Information,                          Part 12. Contact fnformation, Declaration, and
 Certification, and Signature (continued)                             Signature of the Person Preparing this
                                                                      Application, if Other Than the Applicant
 I nlerpreter's Mailing Address
                                                                     Provide the following information about the preparer
3.a.    Street Number
        and Name
                                                                     Preparer's Full Name
3.b.    n   apt.   I     ste.   f]    Etr.
                                                                     1.a.              Fam      Name
3.c.    City or Town
                                                                             KAYE
3.d.    State              3.e.   ZIP Code                           l.b.              GivenName          Name

3.f. Province                                                                Allen
                                                                     t                 Business or               Name
3.g.    Postal Code
                                                                             Pollack Pollack lsaac and DeGicco LLP
3.h.
                                                                     Preparer's Mailing Address
                                                                     3.a.   Street Number
                                                                                             225 Broadway
 Inte rpreler's Co ntacl I ttformalio n                                     and Name

4.                                T          Number                  3.b.napt.Iste.Inr                      3

                                                                     3.c.   City or Town        New York
5.                     Mobile Telephone Number (if any)
                                                                     3.d.   State   NY       3.e.    ZIP Code 10007

6.                     Email Address                                 3.f.   Province

                                                                     3.g.   Postal Code

I nte rprete r Is C e rtificatio n                                   3.h.

I certiff, under penalty of perjury, that:
                                                                             USA

I am fluent in English and                                           Prepare r's C o ntact I nfo r mat ion
which is the same language              in Part 10., Item Number
1.b., and I have read to this applicant in the identified language   4-                                    Number
every question and instruction on this application and his or her
                                                                            (212) 233-8100
answer to every question. The applicant informed me that he or
she understands every instruction, question, and answer on the       5.                Mobile             Number
application, including the Applicant's Declaration and
Certification,   and has   verified the accuracy ofevery answer.
                                                                     6.                Email Address
Interp reter's     S ignature                                               aek@ppid.com
7.a.   Interpreter's                    ln



7.b.   Date of Signature (mmidd/yyyy)




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                                                                                        A-Number     )> A-


       12. Contact Information, Declaration, and                            NOTE: Do not complete Part       13. until the USCIS Officer
 Signature of the Person Preparing this                                     instructs you to do so at the interview.
 Application, if Other Than the Applicant
 (continued)                                                                Part 13. Signature at Interview
 Preparerts Stotement                                                      I swear (affirm) and certif under penalty of perjury under the
                                                                           laws of the United States of America that I know that the
7.a. !         I   am not an attomey or accredited representative          contents of this Form I-485, Application to Register Permanent
               but have prepared this application on behalfof              Residence or Adjust Status, subscribed by me,             the
               the applicant and with the applicant's consent.             corrections made to this application, numbered
7.b. ffi I am an attomey or accredited          representative and         through           , are complete, true, and   correct. All
               my representation of the applicant in this case
                                                                           additional pages submitted by me with this Form I-485, on
                                I
               ffi extends does not extend beyond the
               preparation of this application.                            numbered pages              through               are complete,
               NOTE: If you         are an attomey or accredited
                                                                           true, and correct. All documents submitted at this interview
           representative, you may be obliged to submit a
                                                                           were provided by me and are complete, true, and correct.
           completed Form G-28, Notice of Entry of
           Appearance as Attomey or Accredited                             Subscribed to and swom to (affirmed) before me
           Representative, with this application.
                                                                           USCIS Officer's Printed Name or

Prep are r's Ce rtific atio n
By my signature, I certiff, under penalty of perjury, that I               Date of Signature (mm/dd/yyyy)
prepared this application at the request ofthe applicant. The
                                                                                                      ln
applicant then reviewed this completed application and
informed me that he or she understands all of the information
contained in, and submitted with, his or her application,
                                                                           USCIS Officer's            (sign in ink)
including the Applicantrs Declaration and Certification, and
that all of this information is complete, true, and correct. I
completed this application based only on information that the
applicant provided to me or authorized me to obtain or use.


Preparerts Signalure
8.a.                                (sign in ink)



8.b.   Date of Signature                              \t t3        2-ort




Form   I-485       12113/17 N                                                                                                    Page 17   of18
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                                                                          A-Number   )   A-


 Part 14. Additional Information                                  5.a.   Number 5.b.     Part   Number 5.c.   Item Number

Ifyou   need extra space to provide any additional information
within this application, use the space below. Ifyou need more     5.d.
space than what is provided, you may make copies of this page
to complete and file with this application or attach a separate
sheet of paper. Type or print your name and A-Number (if any)
at the top of each sheet; indicate the Page Number, Part
Number, and Item Number to which your answer refers; and
sign and date each sheet.

l.a.    Family Name
        (Last Name) SUMAJIT
l.b.    Given Name
                       Walter
        (First Name)

1.c.    Middle Name    Gadrinab                                   6.a.   Number 6.b.     Part   Number 6.c.   Item Number

2.      A-Number(ifany)     )A-
                                                                  6.d.
3.a.         Number 3.b.     Part   Number 3.c.     Item Number
                              3                     5.a
3.d.
        PhysicalAddress 3:

        31-08 28th Avenue,          lst   Floor
        Astoria, NY 11102

        From: 0512812012

       To:   O1lOGl2OlA

                                                                  7.a.   Number 7.b. PartNumber 7.c. ItemNumber


                                                                  7.d.


4.a.         Number 4.b.     Part   Number 4.c,     Item Number
                              6                     2.a
4.d.
       chird 4:

       Family Name: SUMAJIT

       Given Name: Jesah

       Middle Name: Conde

       Date of Birth: 0311412000

       Country of Birth: PHILIPPINES

       ls this child applying with you? YES

Form   I-485 l2ll3/17 N                                                                                       Page   18ofl8
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                                           Notice of Entry of Appearance                                             DHS
                                     as Attorney or Accredited Representative                                    Form G-28
                                                                                                              OMB No. 1615-0105
                                            Department of Homeland Security                                    Expires 05/31i2021



 Part l. Information About Attorney or                        Part2, Eligibility Information for Attorney or
 Accredited Representative                                    Accredited Representative
 1.     USCIS Online Account Number                          Select   all applicable items.
                                                tl
                                                ::i
                                                             1.a.     E I*     an attomey eligible to practice law in, and a
                                                                          member in good standing of, the bar of the highest
 Nnme of Attorney or Accredited Representative                            courts of the following statss, possessions, territories,
                                                                          commonwealths, or the District of Columbia. If you
2.a.    Family Name                                                       need extra space to complete this section, use the
        (Last Name)       KAYE
                                                                          space provided in   Part 6. Additional Information.
2.b.    Given Name
        (First Name)      Allen                                           Licensing Authority

2.c.    MiddleName
                                                                           't9o7222
                          E
                                                             1.b.     Bar Number (if applicable)
Address of Attorney or Accredited Representative                      New York Supreme Court
3.a.   Street Number
                           225 Broadway                      1.c. I(selectonlyonebox) flamnot I                 am
       and Name                                                       subject to any order suspending, enjoining, restraining,
                                                                      disbarring, or otherwise restricting me in the practice of
3.b.   [Apt. !ste. 8fu.              3
                                                                      law. Ifyou are subject to any orders, use the space
3.c.                                                                  provided in Part 6. Additional Information to provide
       City or Town       New York
                                                                      an explanation.
3.d.   State    NY        3.e. ZIP Code 10007                l.d.     Name of Law Firm or Organization (if applicable)

3.f.   Province                                                       Pollack Pollack lsaac and DeGicco LLP
                                                             2.a. f] I am an accredited       representative of the following
3.g.   Postal Code                                                        qualified nonprofit religious, charitable, social
3.h.   Country                                                            service, or similar organization established in the
                                                                          United States and recognized by the Department of
        USA                                                               Justice in accordance with 8 CFR part 1292.
                                                             2.b.     Name of Recognized Organization
Contact Information of Anorney or Accredited
Representative
4.                TelephoneNumber
                                                             2.c.     Date of Accreditation (mm/dd/yyyy)

        2122338100
5.     Mobile Telephone Number (if any)                      3.           I am associated with


                                                                          the attomey or accredited representative ofrecord
6.     Email Address (if any)                                             who previously filed Form G-28 in this case, and my
        aek@ppid.com                                                      appearance as an attomey or accredited representative
                                                                          for a limited purpose is at his or her request.
7.     Fax Number (if any)
                                                             4.a.         I am a law student or law graduate working under the
        2122339238                                                        direct supervision ofthe attomey or accredited
                                                                          representative ofrecord on this form in accordance
                                                                          with the requirements in 8 CFR 292.1(aX2).
                                                             4.b.   Name of Law Student or Law Graduate




Form   G-28    05/23/18                                                                                                 Page   I of4
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                                                                         C I ie nt's C o ntacl I nfo rmat io n

                                                                         10.                        Number
Ifyou   need extra space to complete this section, use the space
provided in Part 6. Additional Information.
                                                                         11.     Mobile            Number (if any)
This appearance relates to immigration matters before
(select only one box):                                                           (el7) 7e4-8963
l.a. X U.S.Citizenship and Immigration Services (USCIS)                  12.     Email Address (if any)
l.b. List the form numbers or specific matter in which                           wgsumaiit@gmail.com
        appearance is entered.

        l-765                                                            Mniling Address of Client
2.a. n U.S. Immigration and Customs Enforcement (ICE)                    NOTE: Provide the client's mailing address. Do not provide
                                                                         the business mailing address of the attomey or accredited
2.b. List the specific matter in which appearance is entered.
                                                                         representative unless it serves as the safe mailing address on the
                                                                         application or petition being filed with this Form G-28.

3.a. n U.S. Customs and Border Protection             (CBP)              13.a. Street Number
                                                                                                10 Winding Lane
                                                                               and Name
3.b. List the specific matter in which                   is entered.
                                                                         13.b.   n Apt. fl ste. I rr.
4.      ReceiptNumber                                                    13.c. City or Town     Greenwhich
                                                                         13.d. State   CT       13.e. ZIP Code   06831
5.      I enter my appearance    as an attorney   or accredited
       representative at the request ofthe (select only one box):        13.f. Province
        ffi Applicant n Pedtioner ! Requestor                            13.g. Postal Code
        I Beneficiary/Derivative I Respondent (ICE, CBP)
                                                                         13.h.
I nfo r matio n A b o ut C I ie nl (App lic a nt, P e t it io n e r,             USA
R e q ae sto r, B e ne/ic iary o r D e r iv at iv e, Re sp o n d e nt,
or Authorized Signatoryfor an Entity)
                                                                         Part 4, Client's Consent to Representation and
6.a.   Family Name                                                       Signature
       (LastName)       SUMAJIT
6.b.   Given Name
                        Walter
                                                                         Consent to Representation and Release              of
       (First Name)                                                      Idormation
6.c.   Middle Name      Gadrinab                                         I have requested the representation of and consented to being
7.a.                                                                     represented by the attorney or accredited representative named
       Name of Entity (if applicable)
                                                                         in Part 1. of this form. According to the Privacy Act of 1974
                                                                         and U.S. Department of Homeland Security (DHS) policy, I
7.b. Title ofAuthorized                                                  also consent to the disclosure to the named attomey or
                            Signatory for Entity (if applicable)
                                                                         accredited representative ofany records pertaining to me that
                                                                         appear in any system of records of USCIS, ICE, or CBP.

8.     Client's USCIS Online AccountNumber           (if any)


9.     Client's Alien Registration Number                   (ifany)
                           >A-




Form   G-28 05/23/18                                                                                                             Page2 of 4
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        4. Client's Consent to Represe                        and       Part 5. Signature of Attorney or Accredited
                   (continued)                                          Representative
 Options Regarding Receipt of USCIS Notices and                         I have read and understand the regulations and conditions
                                                                        contained in 8 CFR 103.2 and 292 goveming appearances and
 Documenls
                                                                        representation before DHS. I declare under penalty ofperjury
USCIS will send notices to both a represented parfy (the client)        under the laws of the United States that the information I have
and his, her, or its attomey or accredited representative either        provided on this form is true and correct.
through mail or electronic delivery. USCIS will send all secure
                                                                        l. a.   Signature of Attorney or Accredited Representative
identity documents and Travel Documents to the client's U.S.
mailing address.
Ifyou want to have notices and/or    secure identity documents
sent to your attorney or accredited representative ofrecord rather
                                                                        1.b.    Date of Signature                )   \\ t3 ?,O\V
than to you, please select all applicable items below. You may          2.a.              oflaw     Student or Law Graduate
change these elections through written notice to USCIS.

l.a. []       I request that USCIS send original notices on an
              application or petition to the U.S. business address of   2.b.    Date of Signature (mm/dd/yyyy)
              my attomey or accredited representative as listed in
              this form.
1.b.   fl     I request that USCIS send any secure identity
              document (Permanent Resident Card, Employment
              Authorization Document, or Travel Document) that I
              receive to the U.S. business address of my attomey or
              accredited representative (or to a designated military
              or diplomatic address in a foreign country (if
              permitted)).
              NOTE: If your notice    contains Form I-94,
              Anival-Departure Record, USCIS will send the
              notice to the U.S. business address ofyour attorney
              or accredited representative. Ifyou would rather
              have your Form I-94 sent directly to you, select
              Item Number 1.c.
1.c. f]       I request that USCIS send my notice containing Form
              I-94 to me at my U.S. mailing address.

Signature of Client or Authorized Signalory for an
Entitlt
2.a.   Signature    of                                 for an

+
2.b.   Date   of                          )     (r     4lt8




Form   G-28    05/23118                                                                                                        Page 3   of4
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 Part 6. Additional Information                                    4.a.   Page   Number 4,b.   Part   Number 4,c.   Item Number

 Ifyou   need extra space to provide any additional information
within this form, use the space below. If you need more space      4.d.
than what is provided, you may make copies of this page to
complete and file with this form or attach a separate sheet of
paper. Type or print your name at the top of each sheet;
indicate the Page Number, Part Number, and ltem Number
to which your answer refers; and sign and date each sheet.
 l.a     Family Name
         (LastName)
 1.b.    Given Name
         (First Name)

1.c.     Middle Name

2.a.    Page   Number 2.b.    Part   Number 2.c.     Item Number



2.d.
                                                                   5.a.   Page   Number 5.b. PartNumber 5.c.        Item Number



                                                                   s.d.




3.a.    Page   Number 3.b.    Part   Number 3.c.    Item Number



3.d.                                                               6.a.   Page   Number 6.b.   Part   Number 6.c.   Item Number



                                                                   6.d.




Form   G-28    05123118                                                                                               Page 4   of4
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                               Application For Employment Authorization                                                        USCIS
                                                                                                                              Form I-765
                                                     Department of Homeland Security                                     OMB No. 1615-0040
                                             U.S. Citizenship and Immigration Services                                    Expires 05/31/2020



           n    Authorization/Extension
                Valid From
                                                               Fee Stamp                                       Action Block




  For      fl   Authorization/Extension
                Valid Through
 USCIS
  Use
  Only
           Alien Registration Number          iiji
           Remarks




  To be completed by an attorney or                      ffi   Select this box   if Form G-28      Attorney or Accredited Representative
                                                               is attached.                        USCIS Online Account Number (if any)
 Board of Immigration Appeals (BIA)-
   accredited representative (i f any).

 >     START HERE - Type or print in black ink.

Part 1. Reason for Applying                                                  Other Names Ased
I am applying for (select only one box):                                    Provide all other names you have ever used, including aliases,
                                                                            maiden name, and nicknames. If you need extra space to
1.a. ffi    tnitial permission to accept employment.
                                                                            complete this section, use the space provided in Part 6.
l.b. I      Replacement of lost, stolen, or damaged employment              Additional Information.
            authorization document, or correction of my
                                                                            2.a.    Family Name
                                                                                                     NONE
            employment authorization document NOT DUE to                            (LastName)
            U.S. Citizenship and Immigration Services (USCIS)
                                                                            2.b.    GivenName
            effof.                                                                  (First Name)
            NOTE:     Replacement (correction) of an employment             2.c.    MiddleName
            authorization document due to USCIS error does not
            require a new Form l-765 and filing fee. Refer to
                                                                            3.a.    Family Name
            Replacement for Card Error in the What is the                           (LastName)
            Filing Fee section of the Form I-765 Instructions for
                                                                            3.b.    Given Name
            further details.                                                        (First Name)
1.c. I     Renewal of my permission to accept employment.                   3.c.    MiddleName
           (Attach a copy of your previous employment
           authorization document.)
                                                                            4.a.    Family Name
                                                                                    (Last Name)

Part2, Information About You                                                4.b.    GivenName
                                                                                    (First Name)

                                                                            4.c.    Middle Name
Yoar     Fall Legal Name
l.a.   Family Name
                    SUMAJIT
       (Last Name)
1.b.   Given Name
                    Walter
       (First Name)

l.c.   Middle Name Gadrinab




FormI-765 05/31/18                                                                                                                 Page   I of7
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                    Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 29 of 62



 Part 2. Information About You (continued)                                 13.b. Provide your Social             number
                                                                                                                            I     5 2 9 7 6
 Your U,S. Mailing Address                                                 14. Do you want the SSA to issue you a Social              Security card?
                                                                                    (You must also answer "Yes" to ltem Number 15.,
5.a. In Care      Of Name
                                                                                    Consent for Disclosure, to receive a card.)
                                                                                                                                [Yes        nNo
5.b.    Street Number
                            10 Winding Lane                                         NOTE: If you answered "No" to Item Number 14., skip
        and Name
                                                                                    to Part 2., Item Number 18.a. If you answered "Yes" to
5.c.    nap,. [ste. nFh.                                                            Item Number 14., you must also answer "Yes" to Item
                                                                                    Number 15.
5.d. City or Town           Greenwich
                                                                           15.      Consent for Disclosure: I authorize disclosure of
5.e.                        5.f.   ZIP Code 06831                                   information from this application to the SSA as required
        State    CT
                                                                                    for the purpose of assigning me an SSN and issuing me a
                                                                                    Social Security card.                      Ves
6.      Is your current    mailing address the same   as   your physical
                                                                                                                                ffi         f]No
        address?                                                                    NOTE: If you     answered "Yes" to Item Numbers
                                                 ffiYes [No                         14. - 15., provide the information requested in Item
        NOTE: If you answered "No" to ltem Number 6.                                Numbers 16.a. - 17.b.
        provide your physical address below.
                                                                           Fatherrs Name

 U,S. Physical Address                                                     Provide your father's birth name.
                                                                           16.a. Family Name
7.a.   Street Number                                                             (Last Name)       SUMAJIT
       and Name
                                                                           16.b. Given Name
                                                                                                   Bonifacio
7.b.   !Apt. !ste. lrt                                                           (First Name)

7.c.   City or Town                                                        Mother's Name
                                                                           Provide your mother's birth name.
7.d.   State               7.e.    ZIP Code
                                                                           17.a. Family Name
                                                                                 (Last Name)       GADRINAB
Otlter Information                                                         17.b. Given Name
                                                                                 (First Name)       Esther
8.     Alien Registration Number
                              >A-                                          Your Country or Countries of Citizenship or
9.     USCIS Online Account Number                                         NationaliQt
                                                                           List all countries where you are eurrently   a   citizen or national.
                                                                           If you   need extra space to complete this item, use the space
10.    Gender                                 ftlraale [Female             provided in Part 6. Additional Information.
11.    Marital Status                                                      18.a. Country
       ! Single [lUanied I Divorced I                          Widowed              PHILIPPINES
12,    Have you previously filed Form I-765?                               18.b. Country
                                                 lYes           ENo                 PHILIPPINES
13.a. Has the Social Security Administration (SSA) ever
      officially issued a Social Security card to you?
                                                 ffives [No
       NOTE: If you   answered "No" to Item Number 13.a.,
       skip to ltem Number 14. If you answered "Yes" to Item
       Number 13.a., provide the information requested in Item
       Number 13.b.


Form   I-765    05/31/18                                                                                                                  Page2 of7
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                                                                                                                           -prm [-7g7c,Notice of Action
   TIIIS NOTICE DOES NOT GRANT ANY IMMI GRATI ON S TATUS oR. BENET'IT
      Rseipt Ntrmber                                                                           Cse Type
      EAC1890040734                                                                            1539 - APPLICATION TO EXTEND/CHANGE               NONIMMICRANT
                                                                                               STATUS
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      ot/o9t2018                                                                               SUMAJIT, WALTER GADRINAB
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            WALTER GADRINAB SUMAJIT                                                                                 Notice Type: Transfer Notice
            c/o ALLENE KAYE
            POLLACK POLLACK ISAAC DECICCO
            225 BROADWAY FLR 3
            NEWYORKNY                  1OOO7




      In order to speed up processing, we transferred the application or petition ("your case") listed above to the following USCIS office for processing:
               CALIFORNIA SERVICE CENTER, 24000 Avila Road 2nd Ftr, Laguna Niguel, CA 92677
      That office     will notify you in writing when they make a decision   on your case or    ifthey need additional information.
      If any of theabove information is incorrect or you have any questions about the status of your casg, ptease call the USCIS National Customer
      Service Center (NCSC) at 1-800-375.5283 or visit the USCIS website at www,uscis.gov (iiyou are hearing impaired, the NCSC TDD number is
      1-80G767-1833)' Ifyou call us, please have your Alien Registxation Number (A-Number) and/or the receipt numbir shown above. The receipt number is a
      tracking number for your case and will help with inquiries.
      Processing time - Processing times vary by         case type. Go to www.uscis.gov   to   see the current processing times listed by case type and   office.
           .   View your case status on our website's Case Status Online page.
           .   You can also sign up to receive free email updates as we process your case.
           '   Most of the time your case is pending, the process status will not change. This is because we are workjng on cases that were filed before your case.
           '   When we make a decision on your case or if we need something from yoq we will notify you by mail and update our systems.
           '   If you do not receive an initial decision or update from us within our current processing time, contact the NiSC at I -800-375-5283 or visit our
               website at www.uscis.gov.




           see                               on                                                                c:$es
    Vermont Service Center
    U. S. CITTZENSHIP & MMIGRATION SVC
    75 Lower Welden Street
    Saint Albans VT 05479-0001

   USCIS Contact Center: 1-800.325-5283




If,this ls an lnterview or biometrics appointment notice, please see the back of this
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                           APPLICAIVI/PEIIMOI\ER NAME AND MAILING ADDRE$S



  The I-539, Application to Extend-Change Nonimmigrant Status you submitted has been received
                                                                                              by our ofiftce for the following
  applicants and is in process:

  Name                                                    DaEe   of Birth              country of Birth             clase (If Applicable)
  SUMA;'IT, WAITTER                                       8/23/te7t                    PHTIJIPPINES                        82
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 Please veri$ your personal information listed above and immediately notiff the                         USfiS National Customer Service Center at the
 phone number listed below if there are any changes.

 Please note that     ifa priority     date is printed on this notice, the priority does not reflect earlier retained priority dates.

 If you havequestions about possible-immigration benefits and services, fiting information,
                                                                                            or USCIS forrrs, please call the USCIS
 National Customer Service Center (NCSC) at 1-800-375-52E3. If you are nearing impaire4 please call
                                                                                                        the I..1CSC TDD at
 l'800-761-1833. Please alsorefer to the usclS website: www.uscis.gov

 If you have anyquestions or comments regarding this notice or the                      status of your case, please contact our customer service number,

 You will be notified separately about any other case you may have filed.




USCIS Oflice Address:                                                                                 USCIS Customer Service Nrmber:
Department of Homeland Security                                                                       (800)375-5283
Ve,rmont Service Center
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St. Albans, VT 05479-0001



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                             Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 46 of 62
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   MELTHIE               C                                                 S['MA,JIT                                                                                          989 72                   5438
            address                     slro€tl. lf you havs a         box, seo                                                                           no-                .r        Make sure th6 SSN(sl'
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    10      WINDING LANE                                                                                                                       FtR        1                             abova
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   GREENWICH CT 06831                                                                                                                                                          hsB if yoo, q )'at spouse it fling
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                                          Atlach your Forrn(*) W-?.                                                                                                                                    24, 000        -
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                                   .l     Add lines I, 2. and 3. This is your adjusted gross income.                                                                     4                             24, 000 "
                                   5      Il "ronreone can clrim !,ou (or yorrr s;xrusc if :r joint return ) as u dependcnt, chcck
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                                          fl yuu                  fl    spouse
                                          If no onc can clairn you (ar your rpoure il'a joint relurn)- crrtcr $ 10,4(X) if'slnglc:
                                          $20,8m if married filing Jointll', Se* bask for e.rplnnation.                                                                                                20, 800.
                                   6      Subtract line 5 tiom linc -tr. If line 5 is larger th:rn linr"r J. cntcrr -0-.
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Favments.                                                                                                                                                                                                   130.
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ano    tax                         9      Add lincs T and $u, Thcse arc ,vour total psymcnl.s a,nd credils.                                               >
                                l0        'Iax. Uss thc arileunt on line 6 above to fiud your tax in the tax trblc in thc
                                          instructions. Then, ent*r the li{r t'rom the tablc on this linc.                                                           l0                                     323
                                It        llealth curc: individual rcsponsibility (scc iustructionsl Full-veur covuug.                           fl                  ll                                           0
                                lZ        Add lines l0 und I I . This is your lotal tari.                                                                            l2                                     323
Refund                          l3n       Il'line9islargerthunline 12,subtr.l:tline l2frourline9.Thisisyourrefirnd.
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Amount                          14 lflinr 12 is hugcr than line 9, subtract line 9 liom line l?.'lhis ir
You Owe                                  rhe amount you ornc. For derails on horv to pay, $ee inslructions.

Third Party                   Do you want lo allow anolher person to dlscuss thls retum with the IRS (see instructions)?                              [       Yos. Complete                   beiow.      E       Uo
D6signee                      Dtsiglree's                                                           Phond                                       Pcrsonill idcntiliddriort
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sign                          Unde( penalties ol pe.iury, I cteclar€ that I have examined this retum and, to the lest ot my knowledge affl beli€t, li is true, corr€ct, and
                              accurat€ly listS all anrounts and sourccs of income I reoeivod dunng th€ tax year. Oeclaration o{ preparer lother thao the laxpoyer) is based
Here                          oI! all inlormatr.on ot whlch lhe p{eparel has any knowledge.
                              Your si{lnaiurs                                               Daie           Your occupalion                       Daynm€ phor€ number
Joint rcturn? Scc
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Xeep :r cupv lirr                         signature. lf a ioint relum. boilr musr 3lgn.              Dale               Spouse's occupalion                         It   thelFSst       yar an    ldst'tyfuedim
your ncurds.             )                                                                                               Housewife                                  HN €rr€r it

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h'or Discln$ure, Privacy Acl, and Psp€rwork Reduclion Act No{icr.                          see separnte   instmctlonr,                     f,:tii:iiiEhld€di    I                       norm1O40EZ por4
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                    Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 47 of 62

                                                                                                                                                                      OMB No. 1545"00t4
 Fonr1    8965                                              Health Coverage Exemptions
                                                    > .Attach to Form 1O4O, Fom 1O40A, or Form 104OEZ.                                                                  2.017
 DeFarimsnt of lh€ Treasury
 lntemal R8venu€ s€rvice                 )   Go to www,irs.govlForm&9fl5 tor lnstruotlons and the latost intormation.
 Name as stlown on reluro                                                                                                                Your gocial security number
  WAIJTER       G & MELTIIIE C            SL'}4AITIT                                                                                      XXX-XX-XXXX
  Complete this form if you have a Marketplace-granted coverage exemption or you are claiming a coverage exemption
  on your return,

 tmt             Marketplace-Granted Goverage Exemptions for lndividuals. lf you andlor a member of your tax household
                 have an exem                                 the                        com            Part         I

                                             (al                                                              {b}                                             lc)
                                      Namo ol lndivi<tual                                                    ssN                                  gxemptiod Certr'ticale Number




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 Part ll        Goveraqe Exemntions Claimed on                       \                        for Your
   7      lf you are claiming                   -:Tot:".0-:':"u.ro:'                                                                            u:'o' r:'             threshord,
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@u              Goverage
                household are                    an
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                   Nams ot lndividual                  ssr{              Exemption     FUS
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           'T,ALTSR SUMAJIT                      5{0-8s-29?6             A                       x     X            X          X    X      X        X      X      x       X        x       X


           METTHIE SUMAJIT                       989-?2-5438             lt                     x      X            X          X   X       x        X     X       x       X        x       x

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For Privacy Act and Papennork R€duction A,ct Noflcer see your tax retum                       instrucilons.                               REV@11$18 lntui               rorm    89S$
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                              Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 48 of 62


    r-
       ftw              YORK
                                          Department ol Taxauon and Finance

                                           Nonresident and Part-Year Resident
                                                                                                                                                                                    !ti'i l!?! t: f;:.i;.}P.s?
                                                                                                                                                                                                                     IT-203
                        STATE
    20/'7v                                lnCOmg TaX RgtUfn                                                      NewYorkState. NewYorkCity.y6nl"o.MCTMT
                                                                       For the year January 1, 201?, through December 31, 2017, or llgcrl year beginning ...........                                                                  17
                                                                                                                                                                                  and ending ,..,..,.,,-
  For                                             ur                see the i                                  Form lT-203"1.
    Your firsl narhe and middle init,al                    Yout lasl oame {tor d lotol totum, entet sryisf, s M'ne an !!4e beicwj             Vo,s dd.e   d   bltlh.   (m&flyfi          Your social security number

    WAIJTER G                                               SUMAJTT                                                                                     0823           L9?1                              540852976
    Spouse's first name and middle initial Spouse's last narne                                                                                ScoJ$el crlo ol bri,i         {nn&ffiy)    spouge'9 social security number
                                                                                                                                                                                                         99972s438
    Mailiag address /saa tntlructions, page 13) (suftbe/ and slrdel o/PO                                tor)                                      Apartment number                       Neur York Stal€ county of rebidence

    1C WINDiNG LANE                                                                                                                                FLR          1                        NR
    Cif,        village. or posl offic€                                                State      ZIP code                  Countty   {frot    UnJted   St6les)                          School dislr,ct oame
    GRFENWICH                                                                          CT                  06831                                                                         NR
                                                             {tao   }nrt.,   pg- 13} lfio. and r''ee!   d ftrti mE)                   rlO-                                 0r
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    Slaia               ZIP code                         C$untry    {itrol   Unifdd SlelesJ                                                                                               date                               dat€    deatr
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                               0                                                                                                  E      Now YorX City part-year                   rcsidents anly {see page t4)
 A          Filing                              Single
            status                                                                                                                       {1} Numb'sr of months you lived in NY City in 2017 .....
                                                Manied fiIng joint retum
            {maft an                  X         {eole.riolir sposses'socL3'l secualy,?unbe6. abovei                                      {2) Number of months your spause lived
            X in ane                                                                                                                         in NY City in 2017
                box):          ^'u [--l
                                   I I Mam'ed
                                                Jilinq separate retum
                                        {enterbMtq&uses soqalsecuity nunbes afutle)                                               F     Enter your 2-character speclal condition
                                                                                                                                        code(s) if appllcable gee pase r5,) ..,.......,                                                      ii,
                               O   l*l          ff*.0    of household ($ith quatitying person)                                    G      Now York State part year resldents {seepage                                 16)

                                                                                                                                         Enter lhe date you moved into
                               O   l*l          Ouarirying widow(e4 with dependent child                                                oroutofNYS (nnddyyyy)
                                                                                                                                        On the last day of the tax yeat Waa an x in one
 B          Oid you itomizo your deduciions on your 2017
            federal incoole tax teturn?                                                         Yes       nNo                           1) Lived in NYS
                                                                                                                                        2)
                                                                                                                                                                                                                     box):

                                                                                                                                                                                                                                      n
 C          Can you b€ claimed as a dependent on another
            taxpayer's federal return?                                                          Yes       tl      No   X
                                                                                                                                        3)
                                                                                                                                              Lived outside NY$; received income from
                                                                                                                                              NYS gourc6! during nonresirJent period                                                  n      ..:
 Dl         DiO you have a
                    financial accrunt located in a
    foreign country? fsee pag* t 4) ..,.....,....... "...........,......, Yes
 D2 yonkers part"year residents only:
                                                                                                          nNo           x
                                                                                                                                  H
                                                                                                                                              Lrued outside NYS; received no rncome from
                                                                                                                                              NY$ sources during nonresident period
                                                                                                                                        NEwYork Srate nonrssidents {see pago lsj
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                      n
            {1)   D{d you recei\€ a propertytax relief oedit? gseepg t4J Yes                              nNo          n                Did you or your spouse maintain
                                                                                                                                        living quarters in NY$ in 2A17? .,.................Yes                        il        No    tr
            (2) Enter the amount ..-                                    .00                                                             (itYes. complele Fom lT-2A3-8]


 D3         l   bre you required to reporl, under P.L. 110-343. Div. C,
            S 801(dX2). any nongualified defened                       compensation
            on your 201 7 federal return? {see pale                    t4, ................ Yes                   No
                                                                                                                       X

I       Dependent exemption information (see page t6)
    First name and micldle initial                                      Last name                                  Relalionship                      Social security number                               Date of birth {ma&yw}




lf more than 6 dependents, mark an X in the box

                   203001 1 71555
                                                                                                        For oflice usa only
lllll   I   ililIil ilil ililI     I il   ril   ililil
                        Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 49 of 62

 Page 2         of4    lT-203 (2017)               Er*€r your sccial aeai{,tl   oinb€:                      i*   l1?!   li ti..fii$.i;t.Sp

                                                                  5408s2976
                                                                                                                        Federal amounl                               NewYork $tate amount
      Federal income and adiustments                          (see page 17)                                         Whole dollars only                                 whole dollars only
      1 Wages. salaries, tips, etc.                                                                    1                                     24   0   00 .00     1                   24     0   00 .00
      2 Taxable inleresl income                                                                        2                                                 .00     2                                 .00
      3 Ordinary dividends                                                                             3                                                 .00     3                                 .00
      4 Taxable refunds, credits, or offsets                 of state and local
             income laxes fatso anter on line 24)                                                      4                                                 .00     4                                 .00
      5   Alimony received                                                                             5                                                 .00     5                                 .00
      6 Business income or loss {slhnr i a wpy of leMal Sch. C ar C-EZ, Fan                            6                                                 .00     6                                 .00
      7 Capilal gain or loss fif r6gui/ed. sLbntt a copy of fedent S6h. D, Foffn          1            7                                                 .00     7                                 .00
      8 Other gains or losses gubfiit a @py of {edeat Faftn 4797) ..                                   I                                                 .00     I                                 .00
      9 Taxabb anountof lRAdistihrbns. Benefriaries: markXin box l*-l                                  I                                                 -00     I                                 .00
 1    0   Taxable arrrourrt of perx*ystanruifes. Berefrciarirx; mryk Xin            box   l-   .-"1
                                                                                                      10                                                 .00   10                                  .00
 'llRental real eslate, royallies, partnerships, S corporations,
      trusts, etc. (submil a copy of fedenl Schedule E, Forn 1040)                                                                                       .00                                       .00
 12 Rental real esate irEluded
            in line 11 (fedegl amount)         1                                              .00

 13 Farm income or loss {sbbmit a copyof ledenl                        Sch. F. Form 1M0)
                                                                                                      ,t3                                                .00   13                                  .00
 14 Unemployment oompensation,.........."                                                             14                                                 .00   14                                  ,00   ii
 'l   5   Taxabte amounl of social                       benefits          entaton line               15                                                 .00   {s                                  .00
 16 Olherinmmegeoryz3)                        ldenliu:                                                {6                                                       ,16
                                                                                                                                                         .00                                       .00
 17 Add llnes 1 throush               ll   and 13 through 16                                          17                                     24 00 0 .00       17                    24000.00
 18 Tolal federal                            to income
          ldentily:                                                                                   18                                                 .00   18                                  .00
 {9       Federal adjusted groes income (sbtncuine lSfmmtino 17)                                      19                                     24000,00          1S                    24000.00
      New York additions              (see page 25)

 20 Interest income on state and local bonds and obligations
            {but not those   ol New York Stala or its localitias)                                     20                                                 .00   20                                  ,00
21 Public employee 414(h) retirement contributions                                 ....               21                                                 .00   2l                                  .00
22 Other (Form lT-225, line 9)                                                                        22                                                 .00   22                                  .00
23 Add lines 19 through 22                                                                            23                                     24000.00          23                    24000.00
  New York subtractions                    (see page 26)

24        Taxable refunds, credits, or offsets of state and
             local income laxes (frcm line 4) ...........                                                                                                .o0                                       -00
25        Pensions of NYS and local governments and the
             federal government gee page 26) ..........                                               25                                                 -o0   2A                                  .00
26        Taxable amount of social security benefits (fron line 15) ."                                28                                                 -on   26                                  .00
27        lnterest income on U.S. government bonds                                                    a7                                                -00    27                                  .00
28        Pension and annuity income exclusion                                                        28                                                -00    28                                  -o0
29        Other (Form lT-225. tina 18) ,.,........                                                    29                                                .00    2S                                  -oo
30        Add lines 24 through 29 ............                                                        30                                                .00    30                                  .o0
31        New York adjusted gross income (stbirait line 3A fron line 23)                              3t                                     24000      -oo    3'l                  24000.00

32 Enter the amount from line 31, Federal amount column                                                                                                                             24000          -no

  Standard deduction or itemized deductiorr                                     (see page 28]

33 Enter your standard deduction (tahle on page 28) or your itemized deduction (fron Form t
                        MarkanXinthe appropriate box:... [Xlglandard -or- l-]ftemized                                                                          33                   :.6050        "00
34 Subtract line 33 from line S2 (if line 33 is mors than tina 32, laave btank) .,,...                                                                         34                     ?950        -00
35 Dependent exemptions (enter the nwnber of dependenls,isted in ttem !: soe page 28)                                                                          35                           000.00
36 New York taxable incorne (subtract line 35 from tine 34.                                                                                                    36                     7S5n        _OO




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                                 Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 50 of 62

   Narne(s) as shown on trage               1                                                          Enter yo\ir social securiiy numbet                 ]T-2$ (2A17) Page 3 of 4
   WALTER                    G   ST}MA.TIT                                                                          51085297         6                    ii.j ll?tl?Nr- lC6cte$


   Tax computation, credits, and other taxe$
 37 New York taxable income $rcffi tine 36 on page 2)...                                                                                          37                               79s0.00
 38 New York Slate tax on line 37 amount (see page 29)                                                                                            38                                3   19 .00
 39 New York Stat€ hous€hold cfedii {pase 29, table 1, 2, or 3)                                                                                   39                                 60.00
 40 $ublfact line 39 from line 38 (dlrne 39 rs morB than line 38, leave blankJ...............                                                     40                                259 "00
 41 New York Slate child and dependent care credit (see pago 30)                                                                                  41                                       .00
 42 Subtract line 41 from line 4O {if line 41 is mora than line 40, leave btank)                                                                  42                                25 9 .00
 43 New York $tate earned income credit lsee p€ge 3q ..........-                                                                                  43                                       .00

 44         Base tax (subtracl line 43 from line 42: if line 43 is more than tine 42, leave brank)                                                                                  )
 45         lncome                               NewYork           emount             31                                                               Round result lo 4 decimal places
            percentage
                                                                            24000.00                                       24000.00                             r..0000
            {s6e page 30J

 46 Allocated New York State tax (multiply line 44 by tha dacimal on hn6 45)                                                                      46                                259.0n
 47 New York $late nonrefundable credils (Foffi 11i203-ATT, line 8)                                                                               47                                       .00
 48 Subtract line 47 from line 46 (if lino 47 is mare than line 46. leava blank)                                                                  4A                                259.00
 49 Net other New York Slate taxes fForm |T^203-ATT line 33)                                                                                      4S                                       .00
 $0 Total New York State taxes (add tines 48 and 49)                                                                                              50                                259.00
   New York City and Yonkers taxes, credits, and surcharges, and MCTMT

  51 Part-year New York City resident lax (Foffi t736a.t) ....                                     1                                        .00        See instructions on pages 30
  52 Part-year residenl nonrefundable New York City                                                                                                    and 3l to compute New York
       child and dependent care credit                                                            52                                        .00        City and Yonkers taxes,
 52a $ubtract line 52 from 5'l                                                                   52a                                        .00
                                                                                                                                                       credils, and surcharges, and
                                                                                                                                                       MCTMT.
 52b MCTMT net
       earnings base...
 52c MCTMT,                                                                                      52c                                        .00
  53 Yonkers nonresidenl earnings lax Form Y203) ..                                ... .......   53                                         .00
   54        Part-year Yonkers rosident income lax surcharge
               (Forn lT-364.1)
  55         Total New York City and Yonkers taxes / surcharges and trlClMT (add lines                             52a,   and   52c thrcugh 54)


  56 $ales or use tax fs6a                       lhe lnslruclions on page 32. Do not leave llne 56 btank.)                                        56                                     0.00
  Voluntary contributions                             {see page 33}
            57a Return a Gift to Wldlife                                                                          57a                       .00
            57b Missing/Exploiled Children Fund                                                                   57b                       .00
            57c Breast Cancer Research Fund                                                                       57c                       .00
            57d Alzheimer's Fund ..........                                                                       57d                       .00
            57e Olympic Fund ($2 or$4) .                                                                          57e                       .00
             57f Prostate and Testicular Cancer Research and Education Fund                                  ..    67'                      .00
            579 9lll Memorial                                                                                     57s                       .00
            57h Volunteer Firefighling & EMS Recruitrnent Fund                                                    57h                       .00
             57i Teen Heallh Education ..                                                                          57i                      .00
             57j Veterans Remembrance                                                                              57i                      .00
            57k Homefess Veterans...-.                                                                            57k                       .00
            571 Mental lllnessAnti-Siigma Fund                                                                     571                      .00
        57m Women's Cancers Education and Prevention Fund                                                         b/m                       .00
            57n Autism Fund                                                                                       57n                       -00
            57o Veterans'Homes                                                                                    57o                       -00
57 Total voluntery contributions                            tadd tines 57a througtt s7o) ....                                                     57
58 Total New York State, New York City, Yonkers, and sales or use taxes, MCTMT
     and voluntary contributions (atld lines i0, 55, 56, and i7)                                                                                  58                               259.00
                203003171555

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   Page 4 of       4     lT"?03 (2014              Eets y+v 5oc;Jl !ffurity Durbe(                          €,   111   ;i tr: ::3TFg

                                                                5408s297         6


   59     Enter amount from line 58                                                                                                                                                                 259.00

      Fayments and refundable credits                       (see page 34)

      60    Part year NYC school tax credil (lixed amount) /atso aa{ete-g            at trwt)     50                                              .00             lf applicable, complete
  SOa NYC school lax credit (rate reduction amount)                                                                                                               Form(s) lT-? and/or lT-1099-R
                                                                     50a                                                                          .00
                                                                                                                                                                  and submit them with your
   6{ Other refundable credits lFom \T2\S-ATT, Iina 17) ............ 61                                                                           .00             return (see page 12).
   62 Total l.lew York State tax withheld -...-                       82                                                                      658.00
                                                                                                                                                                  Do not eend federal
   63 lotal New York City tax '.vithheld                              63                                                                          .00             Form W-2 with your return,
   64 Total Yonkers tax withheld                                      64                                                                          .00
   65 Tolal estimated tax payments/amount paid with Form lT:370 65                                                                                .00
   56 Total payments and refundable credits (add tines 6a through 65)                                                                                        66                                     668
      Your refund, amount you oure, and account information                                     (see pages 36 thraugh 38)
      67 Amountoverpaid (iflina66ismorethanline39.subtracilineSgfromline66J.................                                                                 67                                     409.00
      68    Amount of line 67 to be    refunded _ direct deposlt lo checkino or            ...-- oaoer
                         Mark one refund choice; lXl savings abcount (fiil in tineiS) 'ot' L I ltrbc*                                            ."...                                              409.00

      69
      Amount of line 67 that you want applied
        lo your 2018 estimated tax lsee ri,slrucl,bnsJ                  69                                .oo    Refund? Direct deposit is the
                                                                                                                 easiesl. fastest way to get your
  69a Amount of line 67 that you rvanl as a NYS 529
                                                                                                                 refund.
        account deposit (submit Fom tT-195)
   70 Amount you owe (rflrne 66'is ,sss tha| tine Sg, subtrcct tine S6 from line sgJ. Ta pay by electronic       $ee page 37 for payment
                                                                                                                 options.
        funds withdrawal, mark an xin the box                          l-'l
                                                         ano fill in lines 73 andr4.lf you pay by check
        or money order you must complete Form lT-201-V and mail it with your relurn,,....,...,........        70                              .00
   71 Estimated lax penaliy (inctude this amount on line f0,
        or reduce the overpayment on hne 67: see page 3?)               71                                .o0    See page 40 for the proper
   72 Other penalties and interest ($ee page 3t)...                     tz                                       assembly   of your feturn.
                                                                                                         .00

   73 Accounl infornation                 for direct deposil or electronic funds withdrawal {see page 3g).
           lf the funds for your payment (or refund) would come from {or go to} an account outside the U.S.. mark an                                                     Xin this box       (se€ pg. 3g)


           73a Account tvp", i-           I    Personal checking . or -              x                                                                                                                        ''
                                                                                         Personal savings - or -                          Business checking - or -                [*l   Business    savings

           73b    Routing number                 021000021                                73c     Account number                                         3   0:.54   ?   919I

   74      Eleclronic funds withdrawal lsee page              3Bl                        .,.... Date                                           Amount


           Third-party          Pdnt designeek name                                                                  Designee's phone numbet                                       Personal identilication
   designee? /seeinskJ
                                                                                                                     {)                                                                number (PlN)

   vesff ruo[f                  E-mail:

  t      Paid preparer must complete                i   Preparer's NYTPRIN                 NYTPRIN
                                                                                                                                          v
         lsee rnslrucrrons)                                                                exc!. code   I        I
                                                                                                                                              Taxpayer(s) must elgn                    hare     ?
  Preparer's signalure                                      Preparer's pnnted   nar€                                         Your signature

  hm's     name forTouts, i{ selt-employedl                                   Preparer s PTIN or SSN                         Your
  SEIF*PRgPARED                                                                                                                                 SYSTEM Al,''AtYS?
                                                                                                                             Spouse's signalure and occupation           ,U   r^, ,f!ffi,
                                                                                                                                                                                            EWIFE
                                                                                           Dale                              Date                                 Daylime phone number
                                                                                                                                                                  (917 ) ?94-8953
 E-matli                                                                                                                     E-mailr   MEL1TIIE00 B@6MATL                      . COM


                                                                                                                                       See instructions for where to mail your r6turn.


             2030041 71555

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                ffrew                                           Department of Taxation and   Finance                               8r/i11":13\-an.-.r0crPe
                                                                                                                                                              0 3 -C
       t'
      (*-          YORK
                         STATE
                                                                Nonresident or Part-Year                             ResidentlT-2                                    (s/1s)

                      \r=                                       S po use's Certification

      Tc be !Je{ with Form lT-203 by maried taxpayers filing a joint retum when only one spouse has New York source income (see
      Form 1T.203 instructions for additionat information).



      Name olspouse wlth New York source                               in6me                                                Social securily flumber

      WAT,TER            G SUMA,fIT                                                                                                              540852976

      Name of spouse with no New York source incone                                                                         Social security number

      MELTJJ]E               C SUMAJIT                                                                                                           989725438




  Certificstion of spouse with l.lew York source insome  - I certify that I am the spouse with the
  New Yotk source incorne shown in the A/ew York Slale amounl column on Form lT-203 and my spouse.
  to the best of my kpwtedge and beliel had no New York source income for.,.....                                                         Tax     year:       zoLT


      Signature                                                                                                             Date




                                                                                              lnstructions
 Who must complete this form                                                                           Purpose of form
 lf you are required to file a joint Form lT-203 and only one of you                                   Married nonresidents and part-year residents who are required
 had New York source income, the spouse with New York source                                           to file a joint New York State return must use lhe combined
 income must complete this {orm,                                                                       income of bolh spouses to determine the base tax subject to
                  * Enter                                                                              the income perc€ntage allocation, even if only one spouso has
 Caution                            name and social security number (SSN)
                                                                                                       New York source income. Ho$/ever, a spouse with no New York
 infol rnation as foltows:
                                                                                                       source income cannot be required to sign the joint retum and
 .     On Form lT-203€, you must enter the name and SSN of the                                         cannot be held liable for any lax, penalty, or interest that may be
       spouse with New York source income first. Enter the name                                        due. This form will allow the Tax Department to properly process
       and SSN of the spouse with no New York source income                                            your return.
       second.
 .    On y6ur Form lT-203, you must enter the name and $SN of                                          How to file
      lhe spouse rryith New York source income first. Enter the                                        Submit the completed Form lT-203-C with your Form lT-203.
      SSN of the spouse wilh no New York source income second                                          Keep a copy for your records.
      (do not enter that spouse's name).
 .    lf you are filing Form lT-201-V Payment Voucher for lncame
      Iax Refurns. eriter on that form only the name and SSN of the
      spouse wilh New York source income. {Do nol enter any name
      or SSN for the spouse with no New York source income.)




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                                                                    Department of Taxation and Finance                                                                             Fii rl rij? lrlLtr.c6.cfp.6P

                                                                    Summary of lrV-z Statements
                                     New York State . New York City . yon**o
                                                                                                                                                                                                                      lT-2
  Dq not detach or separate the W-2 Records below. File Form lT-Z as an entire page wiih your return. See instruciions on the back,
                                                                                       informallbn
  W-2 Record'l
  Box a                    social securlv number                    P3   INTERNATIONAT CORP

                    54   0852975                                    132 NASSAU ST STE 1103
            ) EmFloy$ idertlilicalion n0mber {ElN                 Ctty                                                           Slei€         ZIP code                    COuntw        tiT   d    UritEd Srlt'asl

                    13   3373311                                   NEW YORK                                                       NY                    10038
  Box       I                                             Box 12a Arnoont                                          Code                  Box 14a Amount                                            Oescriplion
                                 240       0                                                                                                                                     .00
  Box 8 Allocated                                        Box       t?b Amount                                      Code                  Bor l4b Amount
                                                                                                      .00                                                                        .00
  Box 10 Dependent care bene{its                         Box J2c Amounl                                            Code                  Box   l.lc   Amount
                                               -00                                                    .00                I
 gox    tl                                               Box 12d Amounl                                            Code                  6ox l4d Amouni
                                                                                                     .00                 I                                                      .o0                                               ']..,t

                                                                                                                                                                                                                                      l
 Box    {3      Statutory emotoyee
                                      l-.l        Re$rement        pan   l*l       Tnird-party srck   pay      l*l                                                                                      Corrscted (W-Zc)
                                                                                                                                                                                                                              [   .:,r_
                                                                         Box'l6a     NYS wagei,             etc.                    8ox 1?a       NYS income tsx withheld
 NY State infomationl                  Fox 15s
                                       NY Stat6           NiY                                          24AOA                                                           66 8.OO
                                                                                                                                                                                                                                  r:i.
                                                                         gox t6b Otherstale                              etc.       Bor 17b olher         state hcome tax v{thhetd
 Oth€r state information:              Box {5b
                                       cther stale                                                                                                                                                                                ,,{      !




 NYC and Yonkers                                     8ox 18   Locat wages, tips, etc.                                        gox 19 Local income lax wrthheld                                  Box 20 Localiv nan€
 information fsee irrsr(r:                                                                                                                                                                                                        r   it
                                     Lffinly s                                  24 000.00                l.ocaj;ly a                                                 .00       Lo€l'ty a           NYC
                                     Localtl b                                              .00         Lc:€lly b                                                    _00       Lffiliit    b


                           Do not detach.                     Box
 W-2 Record 2
 Box a Employee'g social gecority nunber                                                                                                                                                                                          ij:
   ihis 1,V-2 Record


                                                                  liry                                                           state         zlP code                    counlf,v /,fro, u/*tod sielec,

                                                                                                                                                                                                                                  ',i
 8o:r   1                 oh6t                           Box t?a Amounr                                        Code                  gox'l4a Amount
                                                                                                     .00             I
                                                                                                                                                                                "00
 Box    I   Allocaled                                    Bor lzb Amounl                                        Code                  gox 14b Amount
                                                                                                     .00             I                                                          .00
 Box {0                  care benetits                   Bor 12c Amount                                        Ccda                  Bor 14c Anount
                                                                                                     .00             I                                                         .00
Box 1l                    plang                          Box rZd Amount                                        Code                  Box 14d Amount
                                                                                                   .00               I


gox 13 Slaturory ernptoyee                                        ptan
                                     l-l         Rerirom€nr
                                                                         i-l    Tnird-party srck      oay     l-l                                                                                      Correc'ted     (Wec)
                                                                                                                                                                                                                              [
                                                                         8ox'l6a    NYS                     etc.                   8ox 1?a       NYS incorne lax wnhheld
NY State inlormationi                 Box 15a
                                      NY State           NIY
                                                                         80x l8b o(her     stars              lips,etc. 8oxl?b                   other$tateircometaxwilhhoH
Other stale information:              80x      1.5b
                                     other state              I                                                                                                              .00

NYG and Yonkers                                  Box'18 Localwages, iips. etc.                                           8ox 19 Local income tax withbeld                                      8ox 20 Locatity name
information {see lnstrJ:
                                  LHl.rya                                                  .00         Lma1l7 a                                                     .00       Locaiiry    a
                                  Losally b                                                ,00         Locatly b                                                    .00       Lslilyb



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                 1r?J'i,C5.a;PSF
                                                                                           ORS Usp   ONLY   >
                                                                                                                I'MDOYYYY

                      I              1.e4aJ"2l7voi"15ss                                    Form CT-1040 - 2017
                                                                                           Connecticut Resident lncome Tax Return
                                                                                           (Rev. 1217)
                      Page 1 of4

                      oth€r taxable yaar. beginning:                            and ending:


                      NSYFJ                                              NFS                                        NHHNOW
                      XXX-XX-XXXX                         999-72-s438
                      WA.LTER                             G SUMAJTT                                                                                N      Dec.


                     MELTH]E                              C SUMAJIT                                                                                N      Dec.


                      ]-O I(INDING I,N                                                                              N    cT-8379             N   CT€210

                     APT FLR            1-                                                                          N    cT-1040cRc

                     OREENWICH                                       cT       0683    r.                        a




                     't.    Fsderaladjusledgros$inconreifromfederatForml040,LineST:Form10404,Line21;or
                            Form 1040E2.     [ine4)                                                                            I         1,            24000
                     2. Additions to federal adjusted gross income (from Schedulo 1, Line 38)                                           Z,                   0
                     3. Add LIne 1 and Line 2                                                                                           g.             24000
                     4. Sublradions lrom federal adjusied gross income (from Schedule 1, Line 50)                                       A.                   0
                     5. Connscticut adJusted gros$ lncolne: Line 4 subtracted from Line 3.                                              b.             24004
                     6. lncome tax                                                                                                      6.                   0
                     7. Credit for income taxes paid to qualirying jurisdicrions {from $chedule 2, Line 59)                             7.                   0
                     8. Line 7 subtracted lrom Lane 6. lf Line 7 is greater than Line 6, '0' is entered.
*                    9. Connecticut altemativ€ minimum tax (from Form CT-6251)
                                                                                                                                        B.
                                                                                                                                        g.
                                                                                                                                                             0
                                                                                                                                                             0
                     10. Add Lin6 I and Line 9.                                                                                        10.                   0
                       - Credit for proporty taxes pald on your primary r€sidence. rnotor vehicle, or both {from Schedule 3. Line 68) 1 1 .                  0
id
                     11


o.ts                 12. Line 11 subtracted from Line 10. lf less than zero, "0' is entered.                                          12^                    0
sb
l'rh
                                                                                         11)
                     13. Total allowable credits (from $chedule CT-IT Credit, Part 1, Line                                            19.                    0
#O)                  14, Connectlcut lncorne tax: Line 13subtracted from Line 12. lfless than zero, '0" is          entered,           14.                   0
Odr
c(:                  15. lndividual use tax {from Schedule 4, Line 69). lf no lax is due, '0" is entered.                              ib.                   0
ol
ob                   l6.Totaltaxi      AddLlnel4andlinel5.                                                                     I       16.                   0
d;    q'l
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                                                                                                                                                                                   $l   0ix,l:9 hT,li.cs.crp,sF

                                                                                                             Form CT-1040,          Page ? of 4
                                                                                    Eli$Er
                           J,A40L2L7V02 L555                                        ti*.*tl                                                .      540852976
                                                                                    trt#
                                17. Affiount trom LinB 15                                                                                 'l7.c                     0
                                                                             W-2,   t/-26, and         1099 Informatlon
                     Col. A - Employer or Payer's Fed. lD                    #         Col.     I   . CT Wages. Tips, ctc.               Col. C . CT lncome Tax Withheld

              18a.                                                                                                    0                                             0
              18b.                                                                                                    0                                             0
              J8c.                                                                                                    0                                             0
              18d.                                                                                                    0                                             0
              18€.                                                                                                    0                                             U


              18f. Additionat Connecticut withholding {from Supplenrental Schedule CT-1040WH, Line                                  3}    18f                       0

              18. Total    Connocticut lncome tsx withheld:Amounts in Columr C.                                                                          18.                               0
              19. Alt2017 €stimaied tax payments and any ovorpaymonts anplied from a prior year                                                          19.                               0
              20. Payments made with Form CT-1040 EXT
              20a. Earned income tax credit (from Schedule CT-EITC, Line 16)
                                                                                                                                      I                  20.
                                                                                                                                                       20a.
                                                                                                                                                                                          0
                                                                                                                                                                                          0
              20b. C'aim of fight credit {from Form CT-1040CRC, Line 6)                                                                                20b.                               0
              21. Total paymenls: Add Lines 18, 19,20,20a, afld 20b.                                                                                     21.                              0
              22. Overpayment: lf Line 21 is more lhan Line 1?, Line 17 subrracted from Lins 21.                                                         22.                              U

              23. Amount of Line 22 you want applied tc your 2018 estimated tax
                                                                                                                                                         Eq                               0
              24. CHET contribution (from $chedule CT"CHET, Line 4)                                                                                      24,                              o
              24a. Total contributions of refund lo designated charities {from Schedule 5, Line 70}                                                    24a,                               0

           25. Refund: Lines 23, 24, and 24a subtracted trom Line 22.
           lf you have nol eleclsd to dir€ct deposit, a refund check rarill be lssuEd and processing may be delayed.
                                                                                                                                                         E                                0

           2sa.Acd.lype Ck.                                         Sy.   25b. Roui.    #                                    25c.Acct.#

           25d. Refund going to a bank account outside the                       U.S. 25d.
           26. Tax    due: lf Line 17 is more than Line 21, Line ?1 subtracted from Line 17.                                                             26.                              0
           27. lf late: Penalty entered. Line 26 multiplied by 10o/o (.10).                                                                              27.                              0
           28. lf lale: lnt€re$t entered.
                 Une 26 multiplied by number of nronths or fraction of a monfi lare, then by 1% {.01 }.                                                  28.                              0
          29. lnteresl on underpayment of sstimated tax {from Form CT-2210)                                                                              to                               0
          30. Totat amount due: Add Lines 26 lhrough 29.
                                                                                                                                                         @                                0    .00
          Declaratlon: I declare under penalty of law that I have exgmlned thls relurn and all accompanylnE schedul€s and
          statements, lnc-luding reportlng and payment of any use tax due, and, to the besl of my kn6wl6dge and bellef,
          it ls true, complete, and correct. I understand the penalty for wllllully deliyerlnq a falsi return or-document lo
          ORS ls a line of not moro tban $5,000, or lmprisonrirent fdr not moro than five ydars. or both. fne Ciclaiaiion oi
          a pald preparer other than the taxpayer is based on all information ofwhich the prdparer has any knowledge.
          Yffir 6Enaiuro                                                                                         Dah                               Hdn€tceli lelephons numbs

          a                                                                                                       a                                    9L77 948963
          Spousc's   sigrail8   (it   ioirt rorun)                                                               Oale                              tteytire lolephare numbor
      E
      8   I                                                                                                                                        a
      o                                                                                                           a
itI
39.       Pflld Frepnrer3 signalurp                                                       Oalo                   Tcrephcno number                 Pa'd Preparw's 8SN    u   PTrN
tE
orh       .SELF-PREPARED                                                                    a                     t
irB4
      $
      v
          Pa{i preparor s namo                                 Fm?
                                                                a
                                                                     rdmo.   atcl6c.   and ziP code

                                                                                                                                           t      FFJN




          Third Party DeSlgnee                       - Cornplete the foltowing ro autho.iza DRS to coni.act anothet fls.son dboul this refu{n.              Self,arntbycd
                     Dosrgnee's       naffE
                                                                                                                                                                                         N
                                                                                           Telef*sne nonbet                   PqsrEl }Jq:d.mis f,Hrbs {FlN}
                     a                                                                          a


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                                                                         Forrn CT-1040, Page 3 of 4

               r"0401217V031555                        s#H                                                .540852976
                                                       Erffii
            $chedule I ' Modlfications to Federal .Adjusted Gross lncome
    31, lnlerest on state and local government obligations other than Connecticut
    32. Mutual tund exempt-interest dividends from non-Connecticut $tate or municipal governrnent
                                                                                                            I         Jt.                      0

        obligations                                                                                                   32.                      0
    33. Taxable amount ot lump-sum distributions lrom quallfied plans not included in federal adjusted
        gro$s income                                                                                                  33.                      0
    34^ Beneficiaq/s share of connec'ticut fiduciary adjustmsnt: Entered only if greater than zero.                   34.                      0
    35. Loss on sale of Connecticut $late and local governnrent bonds                                                 35.                      0
    36^ Domeslic production activities (from federal Form 1040. Line 35)                                              36.                      0

    37. Olher- specifor                                                                                               37.                     0

 38. Total addltlon6: Add Lines 31 through 37.                                                                       38.                      0
 39, lnterest on U.S. govemment obligation$                                                                           10                      0
 40" Exempt dividends from certain gualifying mutual iunds deriyed from U.S. governmenl obligations                  40.                      0
 41. Social Security benelii adjurtmeni (from Social Socurily Benefit Adjustmeni tvorksheet)                          41.                     0
42. Refunds of state and local income taxes                                                                          42.                      0
43, ]]er 1 and l'ier 2 railroad retiremenl beneliis and supptemental annuities                                       43.                      0
d4" Military reiirement pay                                                                                          44.                      0
    15.25o/o of Connecticut ieacher's retirement pay                                                                 45.                      0
46. Eeneficiary's share of connecticut fiduciary adjustment: Entered only if less lhan zero.                         46.                      0
47. Gain on sale of Connecllcut state and locat governmeilt bonds                                                    47.                      0

48. CHET      contriburions        Acct, #:                                                                          48.                      A
                                                                                                                                              U

49. Olher - specify   r                                                                                              49,                      0

50. Total subtractions: Add Lines 39 rhrough 49.                                                                     50.                      0

Schedulo 2 - Credit for lncome Taxes Pald to Qualifying Jurisdlctlons
51. Modified Connecticut adjusted gross income                                                                       51.      24 000

                                                                                              Col.    A                     Col- B

52. Qualifying jurisdiction's name ar$ two-letter   code         t      s2.    .     NEW YORK                   a
                                                                                                           NY
53. Non-Connecticirt income included on Line SI and reported oo a
    qualifuing jurtsdiction's income tax return (from Schedulo 2 worksheet) 53.
                                                                                                 24 000                                      0

54, Line 53 divided by Line    51                                                  54.         r..0000                      0.0000
55. lncome tax liability: Line 11 subtracted from Line   6.                        SS.                      n                               0

56. Lihe 54 muttiptied by Line   55                                             56.                         n                               0

57. lncome tax paid io a qualifying   jurisdiction                              57.                       259                               n

58. Lesser of Line 56 or Line   57                                              58.                         0                               0

59. Tolal cr6dit: Add Line 58, all   columns.                    I                                                  59.



f                                                      r.o4or"2r.?vo3lsss                                                            I
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                                                                                                                                       ttr01iIr!iltllu.ct.ctP.S,
                                                                            Form CT-i040, Page 4 of4

 f           ro4olzL7vo41s5s                             Hgry                                         r       540852976
                                                         EIiffil
    Schedule 3 - Property Tax Credlt
                                                 1\T    65 years or older        N    One or more dependents on federal return


             Qualifying ProWrty                          Primary Rosidence                     Auto   1                            Aulo 2

 Name of Conn€cticut Tax Town or      District    .                              I                                     a
 Description of Property                          a                              I                                     a
 Date(s) Paid                                     t                              a                                     a
                                                  a                              a                                     I
 Amount Paid                                     60.                    0        61                       0       oz.                        0

 63. Total propedy tax paid: Add Lines 60, 61, and 62.                                                                 tJJ.                  0

 64. Maximum property tax credit allowed
                                                                                           I                           64.     a       200

65. Lesser of Line 63 or Line 64.                                                                                      65.     a             0

66. Property tax credit limitation decrmal amount: lf zero. the amount from Line 65 is entered on Line 68.             66.     a     0.00
67. Line 65 muttiplied by Line 66.                                                                                     67.     a            0

68. Line 67 subtracted from Line     65.                                                   I                           68.                  0

 Schodule 4 - ladividual Use Tax
 69a. Use tax al tols {from Conneclicut lndividual Use Tax Worksheet, Section A, Column 7}                      69a.                        0

69b. Use tax at 6.357o (from ConnecUcut lndividual Use Tax Wor*sheet, Section B. Column 7)                      69b.                        0

69c. Use lax al 7,75% (from Connecticut tndividuat Use lax Worksheel, Section C, Column 7)                      69c.                        0

69"    lndividual use tax: Add Lines 69a, 69b, and 69c.                                                          69,       .                0

Schedule 5 - Contributions to Designated              Charities                            t
70a. AR                                                                                                         70a.                        0

70b.   oT                                                                                                       70b.                        0

70c. ESAil                                                                                                      70c.                        0

70d.8cR                                                                                                         70d.                        0

70e, SNS                                                                                                        70e.                        0

70f. MR                                                                                                         7gt.                        0

709. CBS                                                                                                       7og.                         0

70h. MHCrA                                                                                                     70h.                         0

70.    Tolal Contrlbutionsl Add Lines Zoa through Z0h.                                                           70.                        0
Iaxpayer emoil


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                                                                                              EI\RNINGS      of 62
                                                                                                           SUMMARY                                                                                                                                                                   m^
                   m                  rence
                                        e       e                           o                        This blue Earnings Summary seclion ls lncluded wlth your W-2 to help descrlbe portlons ln more detall,
     lnt-                       age and Tax
                                Statement                                 2 H:;
                                                                          oilB
                                                                                                     The reverse slde includes general lnlormation that you may also llnd helpful,
                                                                                                           1- The          followlng .lnformatlon relleqle.your final 2017 pay stub plus any adlustmenis submitted by your employer,
    d Conircl    numlret                 uept                Corp.        Employel use only
                                                                                                                      GrossPay                                                    Soctalsecurlty                                      Ny.StalelncomeT6x
                                                                                                                                                                                  ;ilyjtfi?'
     001085 cLtF/&MR                                                    A                  15
                                                                                                                                                     24OOO.OO                                                    14gg,OO                                                                   667.92
        Enployer'o nome, addresi, aod Zlp code
              P3 INTERNATIONAL                                       CORP
                                                                                                                                                                                                                                      n:jl:'"K,".
              132 NASSAU $T STE 1103                                                                                  fert..!gqqm9.
                                                                                                                      Tax Withheld
                                                                                                                                    ltgo.04                                       MedicareTax                    g4g.oo                 19of W'2
                                                                                                                                                                                                                                      Box

              NEW YORK NY 1OO3B                                                                                                             Wthheld                                                                                   SUt/SDl
                                                                                                                      Box 2 ol    W-2                                             Box 6 ol   W-p                                      Box t4 of W-2

                                                                                                           2. Your Gross Pay was actlusled as follows to produce Vour V\r-2 Stat6menl.
                                                                  Batch #01552
                                                                                                                                                    Wages, Tips, other                       SGial Security            Medlcare                     NY.SlateWages, NYCRES
 e/t Employe's         namet addr6s, and ZIP code                                                                                                   Compensatlon                             Wages                     Wages                        Tlps, Elc.    Local Wages,
 WALTER G SUMAJIT                                                                                                                                   Box 1 otW-a                              Box 3 o{ W.2              Box 5 of W-2                 Box 16 ol W-2 Tips, Etc,
    1O WINDING LA                                                                                                                                                                                                                                                 Box 18 of W.2
                                                                                                                Gross Pay                                         24, 000, 00                   24, 000 , 00                 24 , 000. 00                  24,000.00                      24,000.00
 FLOOR 1                                                                                         neporled W-2 Wages
 GREENWICH CT 06831                                                                                                                                               24, 000. o0                   24,000.00                    24,000.00                     24,00o.00                      24,000.00
 o Emproyers rEu tu trufiber a                               tsmpto   e's ssA nuhb€t
               13 - 337331          l                                 40-85-2S76
                               cmp,                                   lncome

       Sirclal security wages                                S@ial secu.ity

                                                             Medicare
                           24000.00                                                 348.00
 / 5@€I        secuntr/ illrs                       a Albcated          tips

 9    Yeritication Code                             'lO   Dependenl care benelilt                          3, Employee W-4 Proflle. To chanqe vour Emolov€e W-4
       6a94-3eaO-77df-l 0!a                                                                                                                                                                                            lnfcirmatlon. file a new W-4 wlth your Favroll dept.
 11 Nonqualiried          plins--
 14 Other
                                                                                                                        WALTER G SUMAJIT                                                                                            Social Seourity Number:540-85.2976
                                                        2c                                                              1O WINDING LA                                                                                               Taxable Marital Status: MARRIED
                                                                                                                        FLOOR 1                                                                                                     Exemplions/Allowances :
                                                                                                                        GREENWICH                                cT 06831                                                          FEDERAL:          1
      Slale                   state lD nq l6 Stele wager, tips! etc,                                                                                                                                                               $TATE: I
     NY        3.337331         1                                                24000.00                                                                                                                                          LOCAL: 'l                    Tax Blocked
 17 Stale income lax                                tu L@st wag6, lipg, elc.
                             667.92                                              24000,00
 lg L6sI      tnoome lax
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 I    Wages, tips, othercontp,                                                                                                           comp.       ?     Federrl lncomc lax wilhhet.l                1     Wrges,lips, otlier comp-
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5     Medl@re wage and tips                                                                                                                                                                                                                                                                1   488.00
                                                                                                                           wag6   €nd tips           6     Medicarc tax withbeld                       5     Medicare            wag6 and tlpg
                          24000.00                                                         00                                   24000.oo                                                 348 o0                                     24000. o0                                                          00
d     Cordrol numh€r                    Dcpl.             Corp.                     usa          d     Cootrol number                       0epl          cory"                          usa           d     Contrcl number                      Dept             Corp.                         us0
001085 cLtF/&MF                                                       A                   15     001085 CLtF/&MB                                                              A                        001085 cLtF/&MR                                                        A                        15
      Employer's name, addtes6, and Zlp code                                                     o     Employer'r name, oddrss, and Zlp code                                                           c Employer's raEe. addres,                        and Zlp ggde
            P3 INTERNATIONAL CORP                                                                                P3 INTERNATIONAL CORP                                                                                 P3 INTERNATIONAL CORP
            132 NASSAU ST STE 1103                                                                               132 NASSAU ST STE 1103                                                                                132 NASSAU ST STE 1103
            NEW YORK NY 10038                                                                                    NEW YORK NY 10038                                                                                     NEW YOFK NY 10038


o     bmployer'c FED lD numbet                      I     Emptol                                                                                     a
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WALTEF G SUMAJIT                                                                                WALTER G SUMAJIT
10 WINDING LA                                                                                                                                                                                         WALTER G SUMAJIT
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FLOOR 1                                                                                         FLOOR T
GREENWICH CT 06831                                                                                                                                                                                    FLOOR 1
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l5   StatelEmDloyer'a slale lD              no_                   wages,
 NY        113:3373311                                                                    .00     NY
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17 stale incometax                                                waqes, tip.!, elc.
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lg   Local in@me lax                                                                                                                                                                 24000.00
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                                     Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 59 of 62
                                                                                                                           Earnings              Statement m
                                        P 3 I NT E R N ATI ON AL C O HP OR              AT I ON                            Period Beginning:         1210112A17
                                         132 NASSAU STREET                                                                 Period Ending:            1213112017
                                        NEWYORK, NY lOO18-24O0                                                             Pay Date:                 1212e/2017
                                        PHANE NO- (21 2)741-7373


                                        Taxable Marital Status: Married
                                        Exemptions/Allowances:
                                                                                                                                WALTER G SUMAJIT
                                           Federal:              'l                                                             10 WINDING LA
                                           NY:                   1                                                              FLOOR 1
                                           New York Cit:         l,Tax Blocked                                                  GREENWICH CT 06831

                 Earnin                            rate        hours          this      period      year to date           lm
                 Regular                   2000. oo                            2 o00. oo                                                PHONE          (212l- 741
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                                      Federal lncome AX                             -94.17              1,130.04
                                      Social Security Tax                       -   124.00              1,488.O0
                                      Medicare Tax                                  -29.   OO              348. O0
                                      NY State lncome Tax                           -55.66                 667.92

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                                      132 NASSAU STHEET                                                                         date:
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                                      NEW YORK, NY 10038-2400
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                                                                             Earnings           Statement trl
       P3 I NTER N AT I O N AL   C   OR P OR AT I O N                        Period Beginning            11 /O1 12017
       132 NASSAU STREET                                                     Period Ending:              11   l3jl2o17
       NEWYORK, NY 1O038.24OO                                                Pay Dale:                   11Bol2o17
       PHONE NO- (21 2)741 -737s


       Taxable Marital Status: Married
       Exem ptions/Allowances:
                                                                                  WALTER G SUMAJIT
         Federal;         l                                                       10 WINDING LA
         NY:              i                                                       FLOOR 1
         New York Cit:    l,Tax Blocked                                           GREENWICH CT 06831

                                                        year to date
                                                                                   ANY PHONE NUMBEFI          (212) 74t-7373
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   Federal lncome                           -94.17        1,O35.87
   Social Security Tax                     -124.OO        1   ,364.00
   Medicare 1ax                             -29.00            31   9. O0
   NY State lncome Tax                      -55.66            612.26

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       Your federal taxable wages this period are
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         INT        CORPOBATION                                             Advice number;
   1le NA$SAU STREET                                                        Pay date:
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   NEW,YOFK, NY 1003B-2400
  ,PHONE NO. (212) 741 -7J73



   WAL         G SUMAJIT                                                   xxx)o(l 309            XXXX XXXX                    $1,697.17




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             Case 1:19-cv-02842-KBJ Document 4-4 Filed 10/03/19 Page 61 of 62
                                                                           Earnings           Statement           m,
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              132NASSAU STREET                                             Period Ending:       1O/31/2O17
              NEWYORK, NY 1O038.24OO                                       Pay Date:            1ORIl2o17
              PHONE NO- (212) 741-7373


              Taxable Marital Status: Married                                  WALTER G SUMAJIT
              Exe m ptions/Allowances:
                Federal:         1
                                                                               10 WINDING LA
                NY:              1
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                New York Citr    1,Tax Blocked                                 GREENWICH CT 06831

Earninss              rate      hours      this period    ysar to dat€     lmportant Notes
Regular         2000.oo                     2 000.00                       COMPANY PHONE NUMBER : (212)741-7373
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Deductions   Statutory
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             Medicare Tax                        -29.00           290.00
             NY State lncome Tax                 -55.66           556.60

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             NEWYORK, NY 10038.2400                                                         Pay Date:              0912912017
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             Taxable Mantal Status: Married                                                      WALTER G SUMAJIT
             ExemptionslAllowances:
                Federal:                 I
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